Case 4:20-cv-02354-JSW Document 50-2 Filed 02/22/21 Page 1 of 39




               Exhibit A
    Case 4:20-cv-02354-JSW Document 50-2 Filed 02/22/21 Page 2 of 39




                                      Curriculum Vitae
                                     Daniel J. Blumenthal

Professor                                                                      Tel: (805) 893-4168
University of California                                                       Fax: (895) 893-7990
Santa Barbara, CA 93106                                                  Email: danb@ece.ucsb.edu

EDUCATION
Ph.D.            Electrical Engineering        University of Colorado        Boulder, CO         1993
M.S.             Electrical Engineering        Columbia University           New York, NY        1988
B.S.             Electrical Engineering        University of Rochester       Rochester, NY       1981

EMPLOYMENT HISTORY
Professor                     UCSB                                  Santa Barbara, CA    2000-Present
Director                      Terabit Optical Ethernet Center, UCSB Santa Barbara, CA    2010-Present
Director of Engineering-      Coriant Advanced Technologies (CAT) Santa Barbara, CA        2015-2016
Photonics
CTO                           Packet Photonics, Inc.                 Santa Barbara, CA       2014-2015
Associate Professor           UCSB                                   Santa Barbara, CA       1997-2000
Assistant Professor           Georgia Institute of Technology        Atlanta, GA             1993-1997
Research Assistant            University of Colorado                 Boulder, CO             1990-1993
Electrical Engineer           University of Pennsylvania             Philadelphia, PA        1988-1990
Research Engineer             Columbia University                    New York, NY            1985-1988
Senior Engineer               Sievers Research Inc                   Boulder, CO             1984-1985
Engineer                      StorageTek                             Louisville, CO          1981-1984

HONORS AND AWARDS

Visiting Faculty Researcher         Microsoft Research (MSR) Cambridge, U.K.             Summer 2017
Education and Outreach Committee    Santa Barbara Bowl Foundation, Santa Barbara, CA      2016-present
Board of Directors                  Unite To Light (Non-Profit), Santa Barbara, CA          2016-2017
Board Member (Elected)              Researcher Seat on the Internet-2                      2008 - 2012
                                    Architecture & Operations Advisory Council
Fellow                              Optical Society of America (OSA)                             2006
Primary Member (Co-PI)              NSF GENI Project Planning Group                        2003-2007
Board of Directors                  National LambdaRail, Inc. (NLR)                       2003 - 2010
Fellow                              IEEE/LEOS                                                    2003
Presidential Early Career Award for White House/DOD                                              1999
Scientists and Engineers (PECASE)
Best Transactions Paper Award       IEEE Education Society                                        1999
Young Investigator Program (YIP) Office of Naval Research                                         1997
Senior Member                       IEEE                                                          1997
Chair                               Atlanta Chapter of the LEOS/ED Society                   1995-1997
National Young Investigator (NYI) National Science Foundation                                     1994
Secretary                           Atlanta Chapter of the LEOS Society                      1994-1995



                                                                                  NOKIA EXHIBIT 1002
                                                                                                    Page 1 of 38
    Case 4:20-cv-02354-JSW Document 50-2 Filed 02/22/21 Page 3 of 39



North American Representative       IEEE/COMSOC Coord. Committee for OFC                      1993



COMPANIES FOUNDED
Packet Photonics                       Santa Barbara, CA                             Founded 2007
Calient Networks                       Santa Barbara, CA                             Founded 1999

CONSULTING
Coriant Advanced Technologies (CAT)    Santa Barbara, CA                              2016 to 2017
Packet Photonics                       Santa Barbara, CA                              2007 to 2014
Aurrion, Inc.                          Santa Barbara, CA                              2011 to 2012
BBN                                    Cambridge, MA                                  2008 to 2013
Luminit                                Torrence, CA                                   2007 to 2013
Tellabs                                Boston, MA                                             2007
Sun MicroSystems                       Santa Clara, CA                                 2004 - 2006
Calient Networks                       Santa Barbara, CA                                1999-2003
Gannon, Inc.                           Chicago, IL                                      1997-1998
Siemens Corporate Research             Princeton, NJ                                          1993
Bernoulli/Iomega                       Boulder, CO                                      1991-1993

EXPERT AND FACT WITNESS WORK
Backer and Botts             Houston, TX            Expert Witness and Consulting    2017 - Present
Beche IP                     San Francisco, CA      Expert Witness and Consulting       2012-2013
Foley and Lardner, LLP       Miami, FL              Expert Witness and Consulting             2012
Winston and Strawn, LLP      Chicago, IL            Consulting, Depositions, Trial            2011

PUBLICATION AND PATENT SUMMARY
Total Refereed Publications and Books: 416
Total Issued Patents: 21

ISSUED PATENTS
         US Patent No.     Issuance Date     Title
                                             Tunable U-Laser Transmitter With Integrated
   1     9,755,753         9/5/17
                                             Mach-Zehnder Modulator
   2     9,638,859         5/2/17            Optical Fiber Alignment Device
                                             Fast Calibration and Programming
   3     9,543,737         1/10/17
                                             Optical Components
                                             Control Systems For Optical Devices And
   4     9,438,355         9/6/16
                                             Subassemblies
                                             Programmable Optical Subassemblies and
   5     9,413,521         8/9/16
                                             Modules
   6     9,407,426         8/2/16            Optical Network Interface, Module and Engine
                                             Wavelength Tunable Arrays for Data
   7     9,385,814         7/5/16
                                             Communications
                                             System and Methods for Reduced Power
                                             Consumption and Heat Removal In Optical
   8     9,370,123         6/14/16
                                             and Optoelectronic Devices And
                                             Subassemblies




                                                                                 NOKIA EXHIBIT 1002
                                                                                                 Page 2 of 38
      Case 4:20-cv-02354-JSW Document 50-2 Filed 02/22/21 Page 4 of 39




                                            Integrated Dielectric Waveguide and
   9     9,285,540        3/15/16
                                            Semiconductor Layer and Method Therefor
  10     8,644,713        2/4/14            Optical Burst Mode Clock and Data Recovery
                                            Integrated Wavelength Tunable Single and
  11     7,310,363        12/18/07
                                            Two-Stage All-Optical Wavelength Converter
                                            Apparatus For Simultaneous OTDM
                                            Demultiplexing, Electrical Clock Recovery And
  12     7,196,833        3/27/07
                                            Optical Clock Generation, And Optical Clock
                                            Recovery
                                            Apparatus For Simultaneous OTDM
                                            Demultiplexing, Electrical Clock Recovery And
  13     7,184,189        2/27/07
                                            Optical Clock Generation, And Optical Clock
                                            Recovery
                                            System and Method Of All Optical Label
  14     7,050,717        5/23/06           Swapping Using Two-Stage Optical
                                            Wavelength Converters
                                            Methods For Monitoring Performance In
  15     6,912,359        6/28/05
                                            Optical Networks
  16     6,792,177        9/14/04           Optical Switch With Internal Monitoring
                                            Wavelength Selective Optical Switch With
  17     6,778,739        8/17/04
                                            Aligned Input and Output Substrates
                                            Wavelength Power Equalization By
  18     7,142,744        11/28/06
                                            Attenuation In an Optical Switch
                                            Wavelength Power Equalization By
  19     6,697,547        2/24/04
                                            Attenuation In an Optical Switch
                                            Optical Switch Having Switch Mirror Arrays
  20     6,643,425        11/4/03
                                            Controlled by Scanning Beams
                                            Optical Amplification In Photonic Switched
  21     7,379,668        4/2/02
                                            Crossconnect Systems



EDITING JOURNALS
Primary Guest Editor IEEE Journal on Selected Area in Quantum Electronics (JSTQE)          2016-2018
                     Special Issue on Ultra Low-Loss Optical Waveguides
Associate Editor     IEEE Photonics Technology Letters (PTL)                               1997-2006
Associate Editor     SPIE Optical Networks Magazine                                       2001 – 2008
Associate Editor     IEEE Transactions on Communications                                   1996-1999
Guest Editor         IEEE Journal on Selected Area in Quantum Electronics (JSTQE)          2006-2007
                     Special Issue on High Speed Integrated Photonics
Primary Guest Editor IEEE Journal on Selected Areas in Communications                           2002
                     Special Issues on Optoelectronic and Optical Routers
Primary Guest Editor IEEE Journal of Lightwave Technology (JLT)                                 1998
                     Special Issue on Photonic Packet Switching

PROFESSIONAL ACTIVITIES
TPC                       Optical Fiber Communications OFC 2018, San Diego, CA             2017-2018
Workshop Organizer        OFC Workshop on “Beyond Silicon Photonics,” OFC 2018             2017-2018
                          San Diego, CA
TPC                       Topical Meeting on Photonics in Switching: Florence, Italy            2015
TPC                       Topical Meeting on Photonics, San Diego, California                   2014
TPC                       25th International Conference on Indium Phosphide and Related         2013
                          Materials (IPRM) Kobe, Japan on May 20-23
TPC                       International Meeting on Photonics In Switching                       2012




                                                                                NOKIA EXHIBIT 1002
                                                                                                   Page 3 of 38
      Case 4:20-cv-02354-JSW Document 50-2 Filed 02/22/21 Page 5 of 39



                        Ajaccio Corsica, France
Workshop Organizer      Future solutions for Tbit/s Ethernet, 37th European Conference        2011
                        and Exhibition on Optical Communication (ECOC)
General Program Chair   IEEE Photonics Society First Topical Meeting                          2011
                        on Terabit Optical Ethernet
Co-Chair                UCSB Institute for Energy Efficiency Data Center Roundtable           2011
TPC                     OSA Topical Meeting on Photonics in Switching, Monterey, CA           2010
TPC                     IEEE Photonic Society Topical Meeting on                              2010
                        Photonics for Routing and Interconnects
Session Chair           Conference on Optical Communications (OFC), San Diego, CA             2010
TPC                     Photonics in Switching, Piza, Italy                                   2009
Session Chair           First Asian Himalayas International Conference                        2009
                        on Internet AH-ICI2009
TPC                     International Topical Meeting on Photonics in                         2008
                        Switching, Tokyo, Japan
Steering committee      Opto-Electronics and Communications Conference (OECC) and the         2008
                        Australian Conference on Optical Fibre Technology (ACOFT)             2008
TPC                     ACM/IEEE 4th Symposium on Architectures for                           2008
                        Networking and Communications Systems (ANCS)
TPC                     OFC Workshop on All-Optical Signal Processing and Conditioning        2008
TPC                     ONS Subcommittee, LEOS Annual Meeting                                 2007
TPC                     FiWi SubCom Meeting at ICC/Globecomm, Glasgow, UK                     2007
TPC                     APOC03: Optical Transmission, Switching                               2007
                        And Subsystems, Nov. 5-9, Wuhan, China
TPC                     IEEE/LEOS Topical Meeting on Optical Network sand Systems             2007
TPC                     3rd ACM/IEEE Symposium on Architectures for Networking                2007
                        and Communications Systems (ANCS)
Workshop Organizer      4th International Workshop on the Future Optical Network - Beyond     2007
                        100Gbps Metro and New Generation Access Technologies
Workshop Organizer      The 2nd International OFC/NFOEC Workshop                              2007
                        On the Future of Optical Networking (FON)
Workshop Organizer      Workshop on the Future of Optical Networking                          2007
                        OECC2007, Yokohama, Japan
Workshop Organizer      2nd International OFC/NFOEC Workshop                                  2007
                        On Future of Optical Networking (FON), Anaheim
TPC                     OSA Nonlinear Photonics Meeting,                               2006 - 2007
                        Nonlinear Devices and Systems
Committee Member        LEOS Board of Governors Long Range                             2006 - 2007
                        Strategic Planning for Publications
Subcommittee Chair      IEEE/LEOS Semiconductor Laser Workshop                                2006
                        Session on High Performance Lasers
TPC                     SIGCOMM                                                               2006
Workshop Organizer      National Science Foundation Workshop on Optical                       2005
                        Networking and Communications, UCSB
TPC                     European Conference on Optical Communications (ECOC)           2004 - 2005
TPC                     LEOS Annual Meeting                                                   2005
Executive Committee     CoRE UC Discovery                                              2004 - 2005
TPC                     4th International Workshop on Optical Burst Switching                 2005
TPC                     IQEC/CLEO Pacific Rim                                                 2005
TPC                     3rd International Workshop on Optical Burst Switching                 2004
TPC                     IASTED International Conference on Optical                            2004
                        Communications Systems and Networks (OCSN)
General Co-Chair        LEOS Topical Meeting on Advance Semiconductor                         2001
                        Lasers and their Applications (ASLA)
TPC                     Hot Interconnects VIII                                                2001
General Chair           OSA Topical Meeting on Photonics in Switching                         2001



                                                                              NOKIA EXHIBIT 1002
                                                                                                Page 4 of 38
      Case 4:20-cv-02354-JSW Document 50-2 Filed 02/22/21 Page 6 of 39



TPC                         Opticom 2000                                                          2000
General Chair               Optical Summit                                                        2000
Program Committee Chair     OSA Top. Mtg. on Photonics in Switching                               1999
Program Committee Chair     Optical Internetworking Conference                                    1999
TPC                         Conference on Optical Fiber Communications (OFC)                 1997-2000
Workshop Organizer          OFC Workshop on Optical Signal Processing                             2000
                            for Optical Networks
TPC                         Conference on Lasers and Electrooptics (CLEO) North America      1999-2001
TPC                         OSA Top. Mtg. on Photonics in Switching                          1995,1997
TPC                         IEEE/LEOS Topical Meeting on WDM Component Technologies               1997
TPC                         IEEE/LEOS Topical Meeting on Optical                                  1994
                            Networks and their Enabling Technologies
Chair                       Atlanta Chapter of the LEOS/ED Society                           1995-1997
Secretary                   Atlanta Chapter of the LEOS Society                              1994-1995
North American              IEEE/COMSOC Coord. Committee for OFC                                  1993
Representative
Workshop Organizer          AFOSR Workshop on Multiwavelength Comm.                           1996
Workshop Organizer          NSF Workshop on Optical Comm. Systems                             1994
Workshop Organizer          AFOSR Workshop on Multiwavelength Information Processing          1993
Publications Reviewer       IEEE J. of Lightwave Technol., IEEE                      1993 - present
                            Trans. on Comm., IEEE Selec. Areas in Comm.,
                            IEEE Photon. Technol. Letters, Electron.
                            Letters, App. Optics, Optics Letters,
                            J. of Parallel and Distributed Processing
Society Memberships         IEEE, IPC, LEOS, and OSA


PUBLICATION SUMMARY (REFEREED AND INVITED)
Total Refereed Publications and Books: 416
Books and Book Chapters: 6
Invited Journal Publications and Articles: 16
Plenary and Invited Conference Presentations: 57
Postdeadline Conference Papers: 8
Refereed Journal Publications: 131
Refereed Conference Papers: 198


OTHER PUBLICATIONS
Seminars, Workshops, And Invited External Presentations: 70
Short Courses and Continuing Education: 16

BOOKS AND BOOK CHAPTERS
B1. “Multiwavelength Photonic Packet Switched Interconnects,” D. J. Blumenthal, University of Colorado
    at Boulder, Advisor J. Sauer, July (1993).
B2. “All-Optical Multi-Hop Architectures for Photonic Packet Switching,” D. J. Blumenthal, Photonic
    Networks: Advances in Optical Communications, Part 3, Ch. 30, pp. 377-386, Ed. G. Prati, Springer-
    Verlag London Limited (1997).
B3. “Semiconductor Optical Amplifiers,” D. J. Blumenthal and N. C. Kothari, The Communications
    Handbook, Chapter 61, pp. 832-47, Ed. J. D. Gibson, CRC Press Inc. (1997).
B4. “Experimental Demonstration of MOSAIC: a Multiwavelength Optical Subcarrier Multiplexed
    Controlled Network,” R. Gaudino, M. Shell, M. Len, G. Desa, C. Juckett, and D. J. Blumenthal,
    Trends in Optics and Photonics Series: Volume 20, Optical Networks & Their Applications, pp. 340-1,
    Ed. Richard Barry (1998).



                                                                                   NOKIA EXHIBIT 1002
                                                                                                     Page 5 of 38
    Case 4:20-cv-02354-JSW Document 50-2 Filed 02/22/21 Page 7 of 39



B5. “Quantum Dot Semiconductor Optical Amplifiers,” R. P. Mirin and D. J. Blumenthal, Trends in Optics
    and Photonics Series: Volume 32, Advanced Semiconductor Lasers and Their Applications, pp. 183-5,
    Eds. Leo Holberg and Robert Lang (2000).
B6. Tunable Laser Diodes and Related Optical Sources, J. Buss, M. C. Aman, and D. J. Blumenthal,
    Wiley-IEEE Press, 2nd Edition, ISBN: 0471208167, January (2005).

INVITED JOURNAL PUBLICATIONS AND ARTICLES

1987
IJA1. “Photonic Switch with Optically Self-Routed Bit Switching,” P. R. Prucnal, D. J. Blumenthal, and
       P. A. Perrier, IEEE Communications Magazine, special issue on Photonic Switching, 25(5): 50-55,
       May (1987) (Invited).
1992
IJA2. “Photonic Interconnects for Gigabit Multicomputer Communications,” J. R. Sauer, D. J.
       Blumenthal, and A. V. Ramanan, IEEE Lightwave Telecommunications Systems Magazine, special
       issue on Gigabit Networks, 3(3): 12-19 August 12-19 (1992) (Invited).
1994
IJA3. “Photonic Packet Switches: Architectures and Experimental Implementations,” D. J. Blumenthal, P.
       R. Prucnal, and J. R. Sauer, Proceedings of the IEEE, 82(11): 1650-1667, November (1994)
       (Invited).
1997
IJA4. “Physical Limitations to Scalability of WDM All-Optical Networks,” D. J. Blumenthal, M. Shell,
       and M. D. Vaughn, Optics and Photonics News, 8(2): 17-22 February 17-22 (1997) (Invited).
2001
IJA5. “All-Optical Label Swapping Networks and Technologies,” D. J. Blumenthal, B. E. Olsson, G.
       Rossi, T. Dimmick, L. Rau, M. L. Mašanović, O. A. Lavrova, R. Doshi, O. Jerphagnon, J. E.
       Bowers, V. Kaman, L A. Coldren, and J. Barton, Journal of Lightwave Technology 18(12):2058-
       2075 · January 2001 (Invited
IJA6. “Routing Packets with Light,” D. J. Blumenthal, Scientific American, 284(1): 79-83, January (2001)
       (Invited).
IJA7. “Photonic packet switching and optical label swapping,” D. J. Blumenthal, Optical Networks
       Magazine, 2(6): 54-65, November-December (2001) (Invited).
2002
IJA8. “All-Optical Label Swapping for the Future Internet,” D. J. Blumenthal, Optics and Photonics
       News, 13(3): 22-25, March (2002) (Invited).
2003
IJA9. “Optical Signal Processing for Optical Packet Switching Networks,” D. J. Blumenthal, J. E. Bowers,
       L. Rau, C. Hsu-Feng, S. Rangarajan, W. Wang, and K. N. Poulsen, IEEE Communications
       Magazine, 41(2): 523 – 529, February (2003) (Invited).
IJA10. "Guest Editorial High-Performance Electronic Switches/Routers for High-Speed Internet," M.
       Hamdi, D. J. Blumenthal, H. J. Chao, E. Leonardi, C. Qiao, and K. Y. Yun, IEEE Journal on
       Selected Areas in Communications, 21(4): 481-5, May (2003) (Invited).
IJA11. “Guest Editorial High-Performance Optical Switches/Routers for High-Speed Internet,” M. Hamdi,
       H. J. Chao, D. J. Blumenthal, E. Leonardi, C. Qiao, and K. Y. Yun, IEEE Journal on Selected Areas
       in Communications, 21(7): 1013-7, September (2003) (Invited).
2004
IJA12. “Optical Performance Monitoring,” D. C. Kilper, R. Bach, D. J. Blumenthal, D. Einstein, T.
       Landolsi, L. Ostar, M. Preiss, and A. E. Willner, Journal of Lightwave Technology, 22(1): 294-304,
       January (2004) (Invited).
2009
IJA13. “An 8x8 InP Monolithic Tunable Optical Router (MOTOR) Packet Forwarding Chip,” S. C.
       Nicholes, M. L. Masanovic, B. Jevremovic, E. Lively, L. A. Coldren, and D. J. Blumenthal, IEEE
       Journal of Lightwave Technology, Special Issue on OFC, (2009) (Invited).




                                                                                    NOKIA EXHIBIT 1002
                                                                                                       Page 6 of 38
       Case 4:20-cv-02354-JSW Document 50-2 Filed 02/22/21 Page 8 of 39



2010
IJA14. “Integrated Photonics for Low Power Packet Networking,” Daniel J. Blumenthal, John Barton,
       Neda Beheshti, John E. Bowers, Emily Burmeister, Larry A. Coldren, Matt Dummer, Garry Epps,
       Alexander Fang, Yashar Gangali, John Garcia, Brian Koch, Erica Lively, John Mack, Milan
       Masanovic, Nick McKeown, Kim Nguyen, Steve Nicholes, Hundai Park, Biljana Stamenic, Henrik
       Poulsen, Matt Sysak, IEEE Journal Of Selected Topics In Quantum Electronics, VOL. 17, NO. 2,
       MARCH/APRIL (2011) (Invited)
2016
IJA15. “Enhanced Brillouin Amplification in Silicon,” Tom Baehr-Jones, Ruizhi Shi and Daniel J.
       Blumenthal, Nature Photonics, “News and Views,” June 2016, Volume 10 No 7, pp. 432-434
       (Invited)
2018
IJA16. “Silicon nitride in silicon photonics,” Daniel J. Blumenthal and Rene Heideman, Proceedings of the
       IEEE Special Issue on Silicon Photonics, Scheduled for Publication May 2018 (Invited)


PLENARY, INVITED AND TUTORIAL CONFERENCE PRESENTATIONS

1995
IC1.     D. J. Blumenthal, “Experimental Implementations of Multiwavelength Photonic Packet Switches,”
         Proceedings of the IEEE Conference MILCOM ‘95, San Diego, CA, 3: 1279-1283, November 5-8
         (1995) (Invited).
1996
IC2.     D. J. Blumenthal, “All-Optical Multi-Hop Architectures for Photonic Packet Switching,”
         International Workshop on Photonic Networks and Technologies, Lerici, Italy, September 4-6
         (1996) (Invited).
IC3.     D. J. Blumenthal, “Scalability Issues in WDM All-Optical Networks,” CLEO Europe, Hamburg,
         Germany, Paper CThF1, p. 244, September 8-13 (1996) (Invited).
IC4.     D. J. Blumenthal, “Physics and applications of semiconductor optical amplifiers,” Conference
         Proceedings. LEOS '96 9th Annual Meeting. IEEE Lasers and Electro-Optics Society 1996 Annual
         Meeting, New York, NY, Paper WB1, 2: 8 November 18-19 (1996) (Invited).
1997
IC5.     D. J. Blumenthal, “Coherent Crosstalk in Photonic Switched Networks,” Technical Digest of the
         Topical Meeting on Photonics in Switching, Stockholm, Sweden, Paper PWA1-1, p. 18, April 1-4
         (1997) (Invited).
1999
IC6.     D. J. Blumenthal, “Physical Implementation of the Optical Layer,” Optical Internetworking
         Conference (ICM), Washington, D. C., June 16-17 (1999) (Invited).
IC7.     D. J. Blumenthal, “Techniques for All-Optical Label Swapping Using SOA-Based Wavelength
         Conversion and Subcarrier Multiplexing,” OSA Topical Meeting on Photonics in Switching ’99,
         Santa Barbara, CA, Paper PThC4, pp. 91-93, July 21-23 (1999) (Invited).
IC8.     J. P. Lang, E. Varvarigos, and D. J. Blumenthal, “The l-Scheduler: A Multiwavelength Scheduling
         Switch,” 37th Annual Allerton Conference on Communicating, Control, and Computing, University
         of Illinois, Urbana, IL, September 22-24 (1999) (Invited).
IC9.     D. J. Blumenthal, “All-Optical Label Swapping with Wavelength Conversion for WDM-IP
         Networks with Subcarrier Multiplexed Addressing,” 37th Annual Allerton Conference on
         Communicating, Control, and Computing, University of Illinois, Urbana, IL, September 22-24
         (1999) (Invited).
2000
IC10.    D. J. Blumenthal, “Wavelength Conversion and Optical Signal Processing for Packet Routing,”
         Optical Fiber Communication Conference (OFC ’00), Baltimore, MD, workshop on Optical Signal
         Processing for Optical Networks, March 5-10 (2000) (Invited).
IC11.    D. J. Blumenthal, “All-Optical Networks,” 11th Annual Workshop on Interconnections Within
         High-Speed Digital Systems, Santa Fe, NM, May 21–24 (2000) (Invited).




                                                                                     NOKIA EXHIBIT 1002
                                                                                                         Page 7 of 38
    Case 4:20-cv-02354-JSW Document 50-2 Filed 02/22/21 Page 9 of 39



2002
IC12.   D. J. Blumenthal, “Photonic Packet and All-Optical Label Switching Technologies and
        Techniques,” Conference on Optical Communications (OFC ’02), Anaheim, CA, Paper W03, 1:
        282-4, March 19-22 (2002) (Invited).
IC13.   D. J. Blumenthal, J. E. Bowers, Y. J. Chiu, H. F. Chou, B. E. Olsson, S. Rangarajan, L. Rau, and
        W. Wang, "Optical Packet Switching and Associated Optical Signal Processing," 2002 Digest of
        the LEOS Summer Topical Meetings, Piscataway, NJ, Paper TuG2, July 15-17 (2002) (Invited).
IC14.   D. J. Blumenthal, "Integrated Devices for Wavelength-Agile All-Optical Networks," Technical
        Digest of the Integrated Photonics Research Conference (IPR '02), Vancouver, Canada, Paper
        IWB1, September 17-19 (2002) (Plenary).
2003
IC15.   D. J. Blumenthal, “Optical signal processing using semiconductor optical amplifiers and
        applications to packet and burst switching,” Conference on Lasers and Electro Optics (CLEO '03),
        Baltimore, MD, Session CTuQ3, June 1-6 (2003) (Invited).
IC16.   D. J. Blumenthal, “All-Optical Packet Routers,” OSA Topical Meeting on Photonics in Switching
        2003, Versailles, France, September 29-October 2 (2003) (Invited).
IC17.   D. J. Blumenthal, “The Parallel Lambda Revolution in Optical Networks,” Super Computing
        Conference 2003, Phoenix, AZ, November 15-21 (2003) (Invited).

2004
IC18.   D. J. Blumenthal, “Local WDM Optical Networks,” Avionics, Fiber-Optics and Photonics
        Workshop, Session: MIL-AERO Networks & WDM Technology, St. Louis, MO, April 21-23
        (2004) (Invited).
IC19.   D. J. Blumenthal, “Overview of the LASOR Project,” Workshop on Optical packet switching and
        Optical Burst Switching, Yokohama, Japan, July 12 (2004) (Invited).
IC20.   D. J. Blumenthal, “Integrated and Ultrafast Technologies for Optical Label Switching,”
        OECC/COIN 2004: Optoelectronics and Communications Conference and Conference on Optical
        Internet, Yokohama, Japan, July 12-16 (2004) (Invited).
IC21.   D. J. Blumenthal, “Optical Labeled Packet Switching and the LASOR Project,” The 17th Annual
        Meeting of the IEEE Lasers and Electro-Optics Society (LEOS), 1, November 7-11 (2004)
        (Invited).
IC22.   D. J. Blumenthal, “Optical Packet Switching,” European Conference on Optical Communications
        (ECOC), Stockholm, Sweden, Paper ThU1, pp. 910-912, September 5-9 (2004).
IC23.   D. J. Blumenthal, “Photonic Integration in UCSB’s CSWDM and DOD-N Programs,”
        DARPA/MTO Photonics Symposium, San Francisco, CA, November 30–December 2 (2004)
        (Invited).
2005
IC24.   D. J. Blumenthal, “All-Optical Label Swapping and Routing,” OFC 2005 Workshop on All-Optical
        Wavelength Conversion and Signal Processing for Next Generation Networks, OFC 2005,
        Anaheim, CA, March 6-11 (2005) (Invited).
IC25.   M. L. Mašanović, J. S. Barton, V. Lal, M. N. Sysak, J. W. Raring, E. J. Skogen, D. J. Blumenthal,
        and L. A. Coldren, “Integration techniques for InP-based high-functionality photonic integrated
        circuits," Integrated Photonics Research and Applications (IPRA 2005), San Diego, CA, Paper
        IMC1, April 11-13 (2005) (Invited).
IC26.   D. J. Blumenthal and M. Masanovic, “LASOR: Label Switched Optical Router and Photonic
        Integration,” European Conference on Optical Communications (ECOC), Glasgow, Scotland, UK,
        September 26-30 (2005) (Invited).
IC27.   R. Rajadury and D. J. Blumenthal, “Optical Burst Switching for Unbuffered Span-Constrained
        Networks,” IEEE/CreateNet BroadNets 2005 Conference, Boston, MA, October 3-7 (2005)
        (Invited).
IC28.   M. Davanço, A. Xing, E. L. Hu, and D. J. Blumenthal, “Perspectives on the application of InP-
        based photonic crystal waveguides for optical signal processing,” SPIE Optics East 2005 Section:
        "Active and Passive Optical Components for WDM Communications V, Boston, MA, October 23
        (2005) (Invited).




                                                                                      NOKIA EXHIBIT 1002
                                                                                                           Page 8 of 38
   Case 4:20-cv-02354-JSW Document 50-2 Filed 02/22/21 Page 10 of 39



2006
IC29.   V. Lal, M. Masanovic, D. Wolfson, G. Fish, and D. Blumenthal, “Monolithic Widely Tunable
        Packet Forwarding Chip in InP for All-Optical Label Switching,” Integrated Photonics Research
        and Applications (IPRA) Topical Meeting, Paper ITuC3, Uncasville, CT, April 24-26 (2006)
        (Invited).
IC30.   E. F. Burmeister, D. J. Blumenthal, J. E. Bowers, “Optical buffering for next-generation routers,”
        Opto-Electronics and Communications Conference, Kaohsiung, Taiwan, July 3-7 (2006) (Invited).
IC31.   M. N. Sysak, J. W. Raring, L. A Johansson, H. N. Poulsen, J. S. Barton, D. J. Blumenthal, and L.
        A. Coldren, “Optical 2R and 3R Regeneration with Dynamic Wavelength Switching Using a
        Monolithically Integrated, Widely Tunable Photocurrent Driven Wavelength Converter,”
        Proceedings of European Conference on Optical Communications (ECOC), Cannes, France, Paper
        Th3.4.1, September 24-28 (2006) (Invited).
IC32.   D. J. Blumenthal, “Architecture and Integration Technologies for LASOR: A Label Switched
        Optical Router,” OSA Annual Meeting, Rochester, NY, Paper FTuP1, October 9-12 (2006)
        (Invited).
IC33.   J. E. Bowers, E. F. Burmeister, and D. J. Blumenthal, “Optical buffering and switching for optical
        packet switching,” International Conference on Photonics in Switching, Crete, Greece, October 16-
        18 (2006) (Invited).
2007
IC34.   D. J. Blumenthal, “Ultra-Fast Integrated Optical Interconnects for Short and Ultra-Short Reach
        Interconnects,” Workshop on Ultra-Short Reach Interconnects, Optical Fiber Communications
        Conference (OFC ’07), Anaheim, CA, March 26 (2007) (Invited).
IC35.   D. J. Blumenthal, “Technologies for Building Fast Reconfigurable WDM Optical Networks,”
        Optical Fiber Communications Conference (OFC ’08) Workshop on All-Optical Signal Processing
        and Conditioning, San Diego, CA, Paper OThF1, March 25-29 (2007) (Invited).
IC36.   D. J. Blumenthal, “Functional Optical Integrated Label Recovery and Tunable Wavelength
        Conversion Modules,” LEOS Topical Meeting on Photonics in Switching, San Francisco, CA,
        August 19-22 (2007) (Invited).
2008
IC37.   B. R. Koch, A. W. Fang, H. N. Poulsen, H. Park, D. J. Blumenthal, J. E. Bowers, R. Jones, M. J.
        Paniccia, and O. Cohen, “All-Optical Clock Recovery with Retiming and Reshaping Using a
        Silicon Evanescent Mode Locked Ring Laser,” Optical Fiber Communications Conference (OFC
        ’08), San Diego, CA, Invited Paper OMN1, February 24-28 (2008) (Invited).
IC38.   M. L. Mašanović, E. F. Burmeister, A. Tauke-Pedretti, B. Koch, M. Dummer, J. Summers, J. S.
        Barton, L. A. Coldren, J. E. Bowers, and D. J. Blumenthal, “Photonic Integrated Circuits for
        Optical Routing and Switching Applications,” IPNRA, Paper IWC5, Boston, MA, July 13 – 16
        (2008) (Invited).
IC39.   Jonathon S. Barton, Milan L. Mašanović, Matthew M. Dummer, Anna Tauke-Pedretti, Emily F.
        Burmeister, Brian R. Koch, Joseph A. Summers, Larry A. Coldren, John E. Bowers, Daniel J.
        Blumenthal, “Recent progress on LASOR Optical Router and Related Integrated Technologies,”
        International Topical Meeting on Photonics in Switching, Hokkaido University, Sapporo, Japan,
        August 4-7 (2008) (Invited).
IC40.   Alexander W. Fang, Brian R. Koch, Erica Lively, Daniel J. Blumenthal, John E. Bowers,
        “Distributed Feedback and Mode Locked Silicon Evanescent Lasers,” Extended Abstracts of the
        2008 International Conference on Solid State Devices and Materials, Tsukuba, Ibarki, Japan, Paper
        E-9-1, pp. 974-975, September 24-26 (2008) (Invited).
IC41.   D. J. Blumenthal, “Photonic Integration for Optical Switching Applications,” 2008 Asia Optical
        Fiber Communication & Optoelectronic Exposition & Conference, Shanghai, China, Paper SuF1,
        October 31–November 3, (2008) (Invited).
2009
IC42.   “Advanced Photonic Integrated Technologies for Optical Routing and Switching,” M. L.
        Mašanović, E. Burmeister, M. M. Dummer, B. Koch, S. C. Nicholes, B. Jevremovic, K. Nguyen,
        V. Lal, J. E. Bowers, L. A. Coldren and D. J. Blumenthal, Optoelectronic Integrated Circuits XI,
        Proceedings of SPIE, the International Society for Optical Engineering, vol. 7219, 72190I, San
        Jose, CA, January 28 (2009) (Invited)




                                                                                      NOKIA EXHIBIT 1002
                                                                                                           Page 9 of 38
   Case 4:20-cv-02354-JSW Document 50-2 Filed 02/22/21 Page 11 of 39



IC43.   D. J. Blumenthal and J. E. Bowers, “Technologies and Systems of Optical Switching,”
        International Conference on Photonics in Switching, Paper ThI1, Pisa, Italy, September 15 -19
        (2009) (Invited).
IC44.   D. J. Blumenthal and M. Usami, “Optical Signal Processing: The Roadmap towards High-speed
        Optical Packet/Burst Switching,” European Conference on Optical Communications (ECOC),
        Vienna, Austria, September 20 – 24 (2009) (Invited Tutorial).
IC45.   “Photonic Technologies for an Integrated Optical Node for Avionic Networks,” M. Mašanović, S.
        Nicholes, D. J. Blumenthal and J. S. Barton, Avionics, Fiber-Optics and Photonics Conference,
        Paper ThB2, San Antonio, TX, September 22-24 (2009) (Invited)
2010
IC46.   “Terabit Optical Ethernet,” D. J. Blumenthal, OSA Topical Meeting on Photonics in Switching,
        Paper PWC4, Monterey, CA, July 25-28, (2010) (Invited)
IC47.   “Integration Technologies for an 8x8 INP-Based Monolithic Tunable Optical Router with 40 Gb/s
        Line Rate per Port,” S. C. Nicholes, M. L. Mašanović, B. Jevremović, E. Lively, L. A. Coldren and
        D. J. Blumenthal, Indium Phosphide and Related Materials, Kagawa, Japan, May 31-June 4 (2010)
        (Invited)
2011
IC48.   “Photonic integrated circuits for optical routing and switching applications,” Masanovic, M.L.;
        Barton, J.S.; Parker, J.; Nicholes, S.; Burmeister, E.F.; Jevremovic, B.; Bowers, J.E.; Coldren,
        L.A.; Blumenthal, D.J., Optical Fiber Communication Conference and Exposition and the National
        Fiber Optic Engineers Conference (OFC/NFOEC), Los Angeles, CA (Invited)
IC49.   “8-channel InP monolithic tunable optical router for packet forwarding,” Nicholes, S.C.;
        Masanovic, M.L.; Jevremovic, B.; Lively, E.; Coldren, L.A.; Blumenthal, D.J., Conference Optical
        Fiber Communication Conference and Exposition (OFC/NFOEC)and the National Fiber Optic
        Engineers, Los Angeles, CA (Invited)
IC50.   “Terabit Optical Ethernet for Avionics,” D. J. Blumenthal, Avionics, Fiber-Optics and Photonics
        Technology Conference (AVFOP), Paper WC1, San Diego, CA (Invited)
IC51.   “Terabit Optical Ethernet and Enabling Integration Technologies,” D. J. Blumenthal, Optical Fiber
        Communication Conference and Exposition and the National Fiber Optic Engineers Conference
        (OFC/NFOEC), Paper OTuP4, Los Angeles, CA (Invited)

2012
IC52.   “A Comparison of Approaches for Ultra-Low-Loss Waveguides,” Jared Bauters, Martijn R. Heck,
        Demis D. John, Jonathon S. Barton, Christiaan M. Bruinink, Arne Leinse, Rene Heideman, Daniel
        J. Blumenthal, John Bowers, Conference on Optical Fiber and Communications (OFC/NFOEC),
        Paper OTu1I.3, Los Angeles, CA (Invited)

2016
IC53.   “Ultra-Low Loss SiN Waveguide Platform for Integrated Passive and Active Components for Next
        Generation Photonic Integrated Circuits,” D. J. Blumenthal, 2016 Summer Topical Meeting Series,
        11 - 13 July 2016, paper WA2.4 (Invited)
IC54.   “Chip-Scale Optical Gyros Based on Integrated Ultra Low Loss Waveguide Coils and Silicon
        Photonic Front Ends,” D. J. Blumenthal, 2016 IEEE Photonics Conference, 29th Annual
        Conference of The IEEE Photonics Society, 2 - 6 October (Invited)

2017
IC55.    “Ultra-Low Loss Si3N4 Waveguide Passive and Active Next Generation Photonic Integration for
        Optical Gyroscopes and Communications Applications,” Daniel J. Blumenthal, European
        Conference on Integrated Optics 2017, Eindhoven, The Netherlands, Paper W1.3, April 03-05,
        2017 (Invited)
IC56.   “Ultra-Low Loss Si3N4 Planar Waveguide Platform and Applications,” Daniel J. Blumenthal,
        Taran Huffman, Michael Belt, Sarat Gundavarpu, 43rd European Conference on Optical
        Communication, Gothenberg, Sweden, 17-21 September 2017 (Invited)




                                                                                     NOKIA EXHIBIT 1002
                                                                                                      Page 10 of 38
   Case 4:20-cv-02354-JSW Document 50-2 Filed 02/22/21 Page 12 of 39



2018

IC57.   "Brillouin Lasers based on ultra-low loss silicon nitride waveguides,” Daniel J. Blumenthal,
        CLEO 2018, San Jose California on 13-18 May 2018 (Invited)

POST DEADLINE PAPERS

1994
PDP1. D. J. Blumenthal and L. Thylen, “Coherent Crosstalk Induced BER Floors in NxN Space Photonic
      Switches,” Proceedings of the IEEE/LEOS Topical Meeting on Optical Networks and Enabling
      Technologies, Lake Tahoe, NV, Postdeadline paper PDPI, pp. 1-2, July 6-13 (1994).
1995
PDP2. D. J. Blumenthal and N. Kothari, “Dense Multiwavelength Multistage Photonic Switching in
      Traveling Wave Semiconductor Optical Amplifiers,” OSA Spring Topical Meeting on Photonics in
      Switching, Salt Lake City, UT, Postdeadline paper, March 17-21 (1995).
1999
PDP3. B. E. Olsson, P. Öhlen, L. Rau, G. Rossi, O. Jerphagnon, R. Doshi, D. S. Humphries, V. Kaman, J.
      E. Bowers, and D. J. Blumenthal, “Wavelength Routing of 40 Gbit/s Packets with 2.5 Gbit/s Header
      Erasure/Rewriting Using an All-Fiber Wavelength Converter,” Proceeding of the 25th European
      Conference on Optical Communication (ECOC ’99), Nice, France, Postdeadline paper PD3-4, pp.
      52-53, September 26-30 (1999).
2004
PDP4. H. F. Chou, J. E. Bowers, and D. J. Blumenthal, “Compact 160-Gb/s add-drop multiplexing with a
      40-Gb/s base-rate,” Optical Fiber Communication Conference ’04, Los Angeles, CA, Postdeadline
      paper PDP28, February 22-27 (2004).
PDP5. W. Wang, L. Rau, and D. J. Blumenthal, “All-optical label switching/swapping of 160 Gbps
      variable length packets and 10 Gbps labels using a WDM Raman enhanced-XPM fiber wavelength
      converter with unicast/multicast operation,” Optical Fiber Communication Conference (OFC),
      Postdeadline paper PDP8, February 22-27 (2004).
2005
PDP6. D. Wolfson, V. Lal, M. Masanovic, H. N. Poulsen, C. Coldren, G. Epps, D. Covelo, P. Donner, and
      D. J. Blumenthal, “All-optical asynchronous variable-length optically labeled 40Gbps packet
      switch,” European Conference on Optical Communications (ECOC), Postdeadline paper, Glasgow,
      Scotland, UK, September 26-30 (2005).
2006
PDP7. V. Lal, M. Mašanović, D. Wolfson, G. Fish, C. Coldren, and D. J. Blumenthal, "Monolithic Widely
      Tunable Optical Packet Forwarding Chip in InP for All-Optical Label Switching with 40 Gbps
      Payloads and 10 Gbps Labels," European Conference on Optical Communications (ECOC),
      Postdeadline paper, Glasgow, Scotland, UK, September 26-30 (2006).
2009
PDP8. S. C. Nicholes, M. L. Mašanović., B. Jevremovic, E. Lively, L. A. Coldren, D. J. Blumenthal,
      “The world's first InP 8×8 monolithic tunable optical router (MOTOR) operating at 40 Gbps line
      rate per port,” Optical Fiber Communication Conference (OFC), Postdeadline paper PDPB1, San
      Diego, CA, March 22 – 26 (2009).




                                                                                       NOKIA EXHIBIT 1002
                                                                                                       Page 11 of 38
   Case 4:20-cv-02354-JSW Document 50-2 Filed 02/22/21 Page 13 of 39




REFEREED JOURNAL PUBLICATIONS

1981
J1. “Picosecond Microwave Pulse Generation,” G. Mourou, C. V. Stancampiano, and D. J. Blumenthal,
     Applied Physics Letters, 38(6): 470-2, March (1981).
1987
J2. “Self-Routing Photonic Switching Demonstration with Optical Control,” P. R. Prucnal, D. J.
     Blumenthal, and P. A. Perrier, Optical Engineering, 26(5): 473-7, May (1987).
J3. “12.5 Gbit/s Fibre-Optic Network Using All-Optical Processing,” P. R. Prucnal, D. J. Blumenthal,
     and M. A. Santoro, Electronics Letters, 23(12): 629-30, June 4, (1987).
J4. “Performance of an 8x8 LiNbO3 Switch Matrix as a Gigahertz Self-Routing Switching Node,” D. J.
     Blumenthal, P. R. Prucnal, L. Thylen, and P. Granestrand, Electronics Letters, 23(25): 1359-60,
     December 3 (1987).
1989
J5.   “Laser Fabricated GaAs Waveguiding Structures,” A. E. Willner, M. N. Ruberto, D. J. Blumenthal,
     D. V. Podlesnik, and R. M. Osgood, Jr., Applied Physics Letters, 54(19): 1839-41, May 8 (1989).
1992
J6. “Demonstration of a Deflection Routing 2x2 Photonic Switch for Computer Interconnects,'' D. J.
     Blumenthal, K. Y. Chen, J. Ma, R. J. Feuerstein, and J. R. Sauer, IEEE Photonics Technology
     Letters, 4(2): 169-73, February (1992).

1994
J7.   “First Demonstration of Multihop All-Optical Packet Switching,” D. J. Blumenthal, R. J. Feuerstein,
     and J. R. Sauer, IEEE Photonics Technology Letters, 6(3): 457-60, March (1994).
1996
J8. “Coherent Crosstalk in Multichannel FSK/DD Lightwave Systems Due to Four-Wave Mixing in
     Semiconductor Optical Amplifiers,” D. J. Blumenthal and N. C. Kothari, IEEE Photonics
     Technology Letters, 8(1): 133-5, January (1996).
J9. “BER Floors Due to Heterodyne Coherent Crosstalk in Space Photonic Switches for Wavelength
     Division Multiplexed Networks,'' D. J. Blumenthal, P. Granestrand, and L. Thylen, IEEE Photonic
     Technology Letters, 8(2): 284-6, February (1996).
J10. “Experimental Demonstration of an All-Optical Routing Node for Multihop Wavelength Routed
     Networks,” D. J. Blumenthal, M. Shell, M. D. Vaughn, A. Wang, P. J. Rigole, and S. Nilsson, IEEE
     Photonics Technology Letters, 8(10): 1391-3, October (1996).
J11. “Influence of Gain Saturation, Gain Asymmetry, and Pump/Probe Depletion on Wavelength
     Conversion Efficiency of FWM in Semiconductor Optical Amplifiers,” N. C. Kothari and D. J.
     Blumenthal, IEEE Journal of Quantum Electronics, 32(10): 1810-16, October (1996).
1997
J12. “All-Optical Updating of Subcarrier Encoded Packet Headers with Simultaneous Wavelength
     Conversion of Baseband Payload in Semiconductor Optical Amplifiers,” M. D. Vaughn and D. J.
     Blumenthal, IEEE Photonics Technology Letters, 9(6): 827-9, June (1997).
J13. “Fiber Optic Links Supporting Baseband Data and Subcarrier-Multiplexed Control Channels and the
     Impact of MMIC Photonic/Microwave Interfaces,” D. J. Blumenthal, J. Laskar, R. Gaudino, S. Han,
     M. Shell, and M. D. Vaughn, IEEE JLT/MTT Joint Special Issue on Microwave Photonics II,
     Transactions on Microwave Theory and Techniques, 45(8): 1443-52, August 8 (1997).
J14. “A Novel Transmitter Architecture for Combined Baseband Data and Subcarrier-Multiplexed
     Control Links Using Differential Mach-Zehnder External Modulators,” R. Gaudino and D. J.
     Blumenthal, IEEE Photonics Technology Letters, 9(10): 1397-9, October (1997).
1998
J15. “MOSAIC: A Multi-Wavelength Optical Subcarrier Multiplexed Controlled Network,” R. Gaudino,
     M. Len, G. Desa, M. Shell, and D. J. Blumenthal, IEEE Journal on Selected Areas in
     Communications, Special Issue on High Capacity Optical Networks, 16(7): 1270-85, September
     (1998).




                                                                                     NOKIA EXHIBIT 1002
                                                                                                      Page 12 of 38
   Case 4:20-cv-02354-JSW Document 50-2 Filed 02/22/21 Page 14 of 39



J16. “OPERA: An Optical Packet Experimental Routing Architecture with Label Swapping Capability,”
     A. Carena, M. D. Vaughn, R. Gaudino, M. Shell, and D. J. Blumenthal, IEEE Journal of Lightwave
     Technology, special issue on Photonic Packet Switching Technologies, Techniques, and Systems,
     16(12): 2135-45, December (1998).
1999
J17. “An Optical Communication Design Laboratory,” J. A. Buck, H. W. Owen, III, J. P. Uyemura, C. M.
     Verber, and D. J. Blumenthal, IEEE Transactions on Education, 42(2): 138-43, May (1999).
J18. “Remote Provisioning of a Reconfigurable WDM Multichannel Add/Drop Multiplexer,” R. Gaudino
     and D. J. Blumenthal, IEEE Photonics Technology Letters, 11(8): 1060-2, August (1999).
J19. “All-Optical Label Swapping with Wavelength Conversion for WDM-IP Networks with Subcarrier
     Multiplexed Addressing,” D. J. Blumenthal, A. Carena, L. Rau, V. Curry, and S. Humphries, IEEE
     Photonics Technology Letters, 11(11): 1497-9 November (1999).
2000
J20. “Wavelength Routing of 40 Gbit/s Packets with 2.5 Gbit/s Header Erasure/Rewriting Using an All-
     Fiber Wavelength Converter,” B. E. Olsson, P. Öhlen, L. Rau, G. Rossi, O. Jerphagnon, R. Doshi, D.
     S. Humphries, D. J. Blumenthal, V. Kaman, and J. E. Bowers, IEEE Electronic Letters, 36(4): 345-7,
     February (2000).
J21. “Wavelength Dependence and Power Requirements of a Wavelength Converter Based on XPM in a
     Dispersion-shifted Optical Fiber,” P. Öhlén, B.E. Olsson, and D. J. Blumenthal, IEEE Photonic
     Technology Letters, 12(5): 522-4, May (2000).
J22. “All-optical Header Erasure and Penalty-free Rewriting in a Fiber-based High-speed Wavelength
     Converter,” P. Öhlén, B. E. Olsson, and D. J. Blumenthal, IEEE Photonics Technology Letters,
     12(6): 663-5, June (2000).
J23. “Optical Dispersion Monitoring Technique Using Double Sideband Subcarriers,” T. E. Dimmick, G.
     Rossi, and D. J. Blumenthal, IEEE Photonics Technology Letters, 12(7): 900-2, July (2000).
J24. “Fully Monolithic Four Channel Transmitter IC for RF/Optical Subcarrier Multiplexed
     Communications,” S. Han, C. -H. Lee, B. Matinpour, J. Laskar, D. J. Blumenthal, IEEE Microwave
     and Guided Wave Letters, 10(7): 282-4, July (2000).
J25. “A simple and robust 40-Gb/s wavelength converter using fiber cross-phase modulation and optical
     filtering,” B. E. Olsson, P. Öhlen, L. Rau, and D. J. Blumenthal, IEEE Photonics Technology Letters,
     12(7): 846-8, July (2000).
J26. “Optical SCM Data Extraction Using a Fiber Loop Mirror for WDM Network Systems,” G. Rossi,
     O. Jerphagnon, B. E. Olsson, and D. J. Blumenthal, IEEE Photonics Technology Letters, 12(7): 897-
     9, July (2000).
J27. “The l-Scheduler: a Multiwavelength Scheduling Switch,” J. P. Lang, E. Varvarigos, and D. J.
     Blumenthal, IEEE Journal of Lightwave Technology, 18(8): 1049-62, August (2000).
J28. “Detailed transfer matrix method-based dynamic model for multisection widely tunable GCSR
     lasers,” O. Lavrova and D. J. Blumenthal, IEEE Journal of Lightwave Technology, 11(10): 1274-83,
     September (2000).
J29. “Accelerated Aging Studies of Multi-Section Tunable GCSR Lasers for Dense WDM Applications,”
     O. Lavrova and D. J. Blumenthal, IEEE Journal of Lightwave Technology, 18(12): 2196-9,
     December (2000).
J30. “A Transfer Function Approach to the Small-Signal Response of Saturated Semiconductor Optical
     Amplifiers,” M. Nielsen, D. J Blumenthal, and J. Moerk, IEEE Journal of Lightwave Technology,
     18(12): 2151-7, December (2000).
J31. “Optical Performance Monitoring in Reconfigurable WDM Optical Networks Using Subcarrier
     Multiplexing,” G. Rossi, T. Dimmick, and D. J. Blumenthal, IEEE Journal of Lightwave Technology,
     Special Issue on Optical Networks, 18(12): 1639-48, December (2000).
2001
J32. “All-Optical Demultiplexing Using Fiber Cross-Phase Modulation (XPM) and Optical Filtering,” B.
     E. Olsson and D. J. Blumenthal, IEEE Photonics Technology Letters, 13(8): 875-7, August (2001).
J33. “WDM to OTDM Multiplexing Using an Ultra-fast All-optical Wavelength Converter,” B. E.
     Olsson, L. Rau, and D. J. Blumenthal, IEEE Photonics Technology Letters, 13(9): 1005-7, September
     (2001).




                                                                                    NOKIA EXHIBIT 1002
                                                                                                     Page 13 of 38
   Case 4:20-cv-02354-JSW Document 50-2 Filed 02/22/21 Page 15 of 39



2002
J34. “Pulse Extinction Ratio Improvement Using SPM in an SOA for OTDM Systems Applications,” M.
     L. Nielsen, B. E. Olsson, and D. J. Blumenthal, IEEE Photonics Technology Letters, 14(2): 245-7,
     February (2002).
J35. “Pulsewidth distortion monitoring in a 40-Gb/s optical system affected by PMD,” G. Bosco, B. E.
     Olsson and D. J. Blumenthal, IEEE Photonics Technology Letters, 14(3): 307-9, March (2002).
J36. “10 Gbit/s Agile Wavelength Conversion with Nanosecond Tuning Times Using a Multisection
     Widely Tunable Laser,” O. Lavrova, L. Rau, and D. J. Blumenthal, IEEE Journal of Lightwave
     Technology, 20(4): 712-7, April (2002).
J37. “Single-MMIC Four-Channel Transmitter Module for Multichannel RF/Optical Subcarrier
     Multiplexed Communications Applications,” S. Han, N. Lal, C. H. Lee, B. Matinpour, J. Laskar, and
     D. J. Blumenthal, IEEE Transactions on Microwave Theory and Techniques, 50(4): 1173-9, April
     (2002).
J38. “Pulse Restoration by Filtering of Self-Phase Modulation Broadened Optical Spectrum,” B. E.
     Olsson and D. J. Blumenthal, IEEE Journal of Lightwave Technology, 20(7): 1113–7, July (2002).
J39. “Optical Mode Converter Integration with InP/InGaAsP Active and Passive Waveguides Using a
     Single Re-growth Process,” X. Yan, M. L. Mašanović, E. J. Skogen, Z. Hu, D. J. Blumenthal, and L.
     A. Coldren, IEEE Photonics Technology Letters, 14(9): 1249-51, September (2002).
J40. "Intelligent Optical Networking with Photonic Cross Connections," L. Ceuppens, O. L. Jerphagnon,
     J. Lang, A. Banerjee, and D. J. Blumenthal, Proceedings of SPIE - the International Society for
     Optical Engineering, 4910: 1-14, September (2002).
J41. "Simultaneous All-Optical Demultiplexing of a 40-Gb/s signal to 4x10 Gb/s WDM Channels Using
     an Ultrafast Fiber Wavelength Converter," L. Rau, W. Wang, B. E. Olsson, Y. Chiu, H. F. Chou, and
     D. J. Blumenthal, IEEE Photonics Technology Letters, 14(12): 1725-7, December (2002).


2003
J42. “Low Power Penalty 80 to 10 Gbit/s OTDM Demultiplexer Using Standing-Wave Enhanced
     Electroabsorption Modulator with Reduced Driving Voltage," H. F. Chou, Y. J. Chiu, L. Rau, W.
     Wang, S. Rangarajan, J. E. Bowers, and D. J. Blumenthal, Electronics Letters, 39(1): 94-5, January
     (2003).
J43. “Three-Dimensional MEMS Photonic Cross-Connect Switch Design and Performance,” X. Zheng,
     V. Kaman, S. Yuan, Y. Xu, O. Jerphagnon, A. Keating, R. C. Anderson, H. N. Poulsen, B. Liu, J. R.
     Sechrist, C. Pusarla, R. Helkey, D. J. Blumenthal, and J. E. Bowers, IEEE Journal of Selected Topics
     in Quantum Electronics, 9(2): 571-8, March/April (2003).
J44. “Directional Coupler Wavelength Filters Based on Waveguides Exhibiting Electromagnetically
     Induced Transparency," M. Davanço, P. Holmstrom, D. J. Blumenthal, L. Thylen, IEEE Journal of
     Quantum Electronics, 39(4): 608-13, April (2003).
J45. “Analog Performance of an Ultrafast Sampled-Time All-Optical Fiber XPM Wavelength Converter,"
     L. Rau, R. Doshi, S. Rangarajan, C. Yijen, D. J. Blumenthal, and J. E. Bowers, IEEE Photonics
     Technology Letters, 15(4): 560-2, April (2003).
J46. “Multimode Interference-Based Two-Stage 1x2 Light Splitter for Compact Photonic Integrated
     Circuits," M. L. Mašanović, E. J. Skogen, J. S. Barton, J. M. Sullivan, D. J. Blumenthal, and L. A.
     Coldren, IEEE Photonics Technology Letters, 15(5): 706-8, May (2003).
J47. "Monolithically Integrated Mach-Zehnder Interferometer Wavelength Converter and Widely Tunable
     Laser in InP," M. L. Mašanović, V. Lal, J. S. Barton, E. J. Skogen, L. A. Coldren, and D. J.
     Blumenthal, IEEE Photonics Technology Letters, 15(8): 1117-9, August (2003).
J48. “Regenerative 80-Gb/s Fiber XPM Wavelength Converter Using a Hybrid Raman/EDFA Gain-
     Enhanced Configuration,” W. Wang, H. N. Poulsen, L. Rau, H. F. Chou, J. E. Bowers, D. J.
     Blumenthal, and L. Grüner-Nielsen, IEEE Photonics Technology Letters, 15(10): 1416-8, October
     (2003).
J49. “Extinction Ratio Improvement by Strong External Light Injection and SPM in an SOA for OTDM
     Pulse Source Using a DBR Laser Diode,” Z. Hu, M. Davanco, and D. J. Blumenthal, IEEE Photonics
     Technology Letters, 15(10): 1419-21, October (2003).




                                                                                     NOKIA EXHIBIT 1002
                                                                                                      Page 14 of 38
   Case 4:20-cv-02354-JSW Document 50-2 Filed 02/22/21 Page 16 of 39



J50. “Compact 160-Gb/s Demultiplexer Using a Single-Stage Electrically Gated Electroabsorption
     Modulator,” H. F. Chou, Y. J. Chiu, W. Wang, J. E. Bowers, and D. J. Blumenthal, IEEE Photonics
     Technology Letters, 15(10): 1458-60, October (2003).
J51. “40 GHz Optical Pulse Generation Using Strong External Light Injection of a Gain-switched High-
     Speed DBR Laser Diode,” Zhaoyang Hu, Hsu-Feng Chou, John E. Bowers, and Daniel J.
     Blumenthal, IEEE Photonics Technology Letters, 15(12): 1767-9, December (2003).
2004
J52. “Fabrication of InP-based two-dimensional photonic crystal membrane,” A. Xing, M. Davanco, D. J.
     Blumenthal, and E. L. Hu, Journal of Vacuum Science and Technology B: Microelectronics and
     Nanometer Structures, 22(1): 70-3, January (2004).
J53. “High-speed optical time-division-multiplexed/WDM networks and their network elements based on
     regenerative all-optical ultrafast wavelength converters,” Lavanya Rau, Suresh Rangarajan, Wei
     Wang, Hsu-Feng Chou, Henrik N. Poulsen, John Bowers, and Daniel J. Blumenthal, Journal of
     Optical Networking, 3(2): 100-18, February (2004).
J54. “Photocurrent-Assisted Wavelength (PAW) Conversion With Electrical Monitoring Capability Using
     a Traveling-Wave Electroabsorption Modulator,” H. F. Chou, Y. J. Chiu, A. Keating, J. E. Bowers,
     and D. J. Blumenthal, IEEE Photonics Technology Letters, 16(2): 530-2, February (2004).
J55. “Simultaneous 160-Gb/s Demultiplexing and Clock Recovery by Utilizing Microwave Harmonic
     Frequencies in a Traveling-Wave Electroabsorption Modulator,” H. F. Chou, Z. Hu, J. E. Bowers, D.
     J. Blumenthal, K. Nishimura, R. Inohara, and M. Usami, IEEE Photonics Technology Letters, 16(2):
     608-10, February (2004).
J56. “All-Optical Contention Resolution With Wavelength Conversion for Asynchronous Variable-
     Length 40 Gb/s Optical Packets,” S. Rangarajan, Z. Hu, L. Rau, and D. J. Blumenthal, IEEE
     Photonics Technology Letters, 16(2): 689-91, February (2004).
J57. “Indium Phosphide-Based Optoelectronic Wavelength Conversion for High-Speed Optical-
     Networks,” J. M. Hutchinson, J.F. Zheng, J.S. Barton, J. A. Henness, M. L. Mašanović, M. N. Sysak,
     L. A. Johansson, D. J. Blumenthal, L. A. Coldren, H. V. Demir, V. A. Sabnis, O. Fidaner, J. S.
     Harris, and D.A.B. Miller, Intel Technology Journal: Optical Technologies and Applications,
     8(2):160-171, May (2004).
J58. “40-Gb/s Optical Clock Recovery Using a Compact Traveling-Wave Electroabsorption Modulator-
     Based Ring Oscillator,” Zhaoyang Hu, Hsu-Feng Chou, John E. Bowers, and Daniel J. Blumenthal,
     IEEE Photonics Technology Letters, 16(5): 1376-8, May (2004).
J59. “Compact 160-Gb/s Add-Drop Multiplexer With a 40-Gb/s Base Rate Using Electroabsorption
     Modulators,” H-F Chou, J. E. Bowers and D. J. Blumenthal, IEEE Photonics Technology Letters,
     16(6): 1564-6, June (2004).
J60. "2.5 Gbit/s error-free wavelength conversion using a monolithically-integrated widely-tunable
     SGDBR-SOA-MZ transmitter and integrated photodetector," J. Barton, M. L. Masanovic, M. N.
     Sysak, J. M. Hutchinson, E. J. Skogen, D. J. Blumenthal and L. A. Coldren, IEEE Photonisc
     Technology Letters, 16(6): 1531-3, June (2004).
J61. “InP photonic crystal membrane structures: Fabrication accuracy and optical performance,” A. Xing,
     M. Darvanco, D. J. Blumenthal, and E. L. Hu, Applied Physics Letters, 85(4):.522-4, July (2004).
J62. “Single-chip wavelength conversion using a photocurrent-driven EAM integrated with a widely
     tunable sampled-grating DBR laser,” Sysak, M. N.; Barton, J. S.; Johansson, L. A.; Raring, J. W.;
     Skogen, E. J.; Masanovic, M. L.; Blumenthal, D. J.; and Coldren, L. A., IEEE Photonics Technology
     Letters, 16(9): 2093-5, September (2004).
J63. “Design and performance of a monolithically integrated widely tunable all-optical wavelength
     converter with independent phase control,” M. L. Mašanović, V. Lal, J. A. Summers, J. S. Barton, E.
     J. Skogen, L. A. Coldren, and D. J. Blumenthal, IEEE Photonics Technology Letters, 16(10): 2299-
     2301, October (2004).
J64. “All-optical 160-Gb/s phase reconstructing wavelength conversion using cross-phase modulation
     (XPM) in dispersion-shifted fiber,” Rau, L., Wang, W., Camatel, S., Poulsen, H., Blumenthal, D. J.,
     IEEE Photonics Technology Letters, 16(11): 2520-2, November (2004).
J65. “Analysis of an edge router for span-constrained optical burst switched (OBS) networks,”
     Rajaduray, R., Ovadia, S., and Blumenthal, D. J., IEEE Journal of Lightwave Technology, 22(11):
     2693-2705, November (2004).




                                                                                    NOKIA EXHIBIT 1002
                                                                                                     Page 15 of 38
   Case 4:20-cv-02354-JSW Document 50-2 Filed 02/22/21 Page 17 of 39



J66.    “40-Gb/s optical packet clock recovery with simultaneous reshaping using a traveling-wave
       electroabsorption modulator-based ring oscillator,” Z. Hu, K. Nishimura, H. F. Chou, L. Rau, M.
       Usami, J. E. Bowers, and D. J. Blumenthal, IEEE Photonics Technology Letters, 16(12): 2640-2,
       December (2004).
2005
J67. “160 Gb/s variable length packet 10 Gb/s-label all-optical label switching with wavelength
     conversion and unicast/multicast operation,” Wang, W., Rau, L. G., and Blumenthal, D. J., IEEE
     Journal of Lightwave Technology, 23(1): 211-8, January (2005).
J68. “Compact optical 3R regeneration using a traveling-wave electroabsorption modulator,” Hsu-Feng
     Chou, Hu, Z., Bowers, J. E., and Blumenthal, D. J., IEEE Photonics Technology Letters, 17(2): 486-
     8, February (2005) .
J69. “40-GHz dual-mode-locked widely tunable sampled-grating DBR laser,” Johansson, L. A.,
     Zhaoyang Hu, Blumenthal, D. J., Coldren, L. A., Akulova, Y.A., and Fish, G.A., IEEE Photonics
     Technology Letters, 17(2): 285-7, February (2005).
J70. “Raman-Enhanced Regenerative Ultrafast All-Optical Fiber XPM Wavelength Converter,” Wang,
     W.; Poulsen, H. N.; Rau, L.; Chou, H. F.; Bowers, J. E.; and Blumenthal, D.J., IEEE Journal of
     Lightwave Technology, 23(3): 1105-15, March (2005).
J71. “Widely Tunable Monolithically Integrated All-Optical Wavelength Converters in InP,” Mašanović,
     M. L.; Lal, V.; Summers, J. A.; Barton, J. S.; Skogen, E. J.; Rau, L. G.; Coldren, L. A.; and
     Blumenthal, D. J., IEEE Journal of Lightwave Technology, 23(3): 1350-62, March (2005).
J72. “Demonstration of 40 Gbit/s optical packet synchronization using fiber Bragg gratings and fast-
     tunable wavelength converters,” C. H. Chen, D. Wolfson, L. A. Johansson, D. J. Blumenthal and L.
     A. Coldren, IEEE Electronic Letters, 42(6): 367–9, March 16 (2005).
J73. “Optical Clock Recovery Circuits Using Traveling-Wave Electroabsorption Modulator-Based Ring
     Oscillators for 3R Regeneration," Z. Hu, H. F. Chou, K. Nishimura, M. Usami, J. E. Bowers, and
     D.J. Blumenthal, IEEE Journal of Selected Topics in Quantum Electronics, Special Issues on
     Integrated Optoelectronics, 11(2): 329-337, March/April (2005).
J74. “Detailed characterization of slow and dispersive propagation near a mini-stop-band of an InP
     photonic crystal waveguide,” Marcelo Davanço, Aimin Xing, James Raring, Evelyn L. Hu, Daniel J.
     Blumenthal, Optics Express, 13(13): 4931-8, June 27 (2005).
J75. “Optical Label Swapping Using Payload Envelope Detection Circuits,” Z. Hu, R. Doshi, H-F. Chou,
     H.P. Poulsen, D. Wolfson, J.E. Bowers, and D.J. Blumenthal, IEEE Photonics Technology Letters,
     17(7): 1537-9, July (2005).
J76. “Quantum Well Intermixed Monolithically-Integrated Widely -Tunable All-Optical Wavelength
     Converter Operating at 10Gps Across the C-Band," V. Lal, M.L. Mašanović, E. J. Skogen, J. W
     Raring, J. A. Summers, L. A. Coldren and D. J. Blumenthal, IEEE Photonics Technology Letters,
     17(8): 1689-91, August (2005).
J77. "Accurate Measurement of High Extinction Ratios of Ultrafast Pulsed Sources," S. Camatel, W.
     Wang, L. Rau and D. J. Blumenthal, IEEE Photonics Technology Letters, 17(9): 1689-91, August
     (2005).
J78. “Transmission measurement of tapered single-line defect photonic crystal waveguides,” A. Xing, M.
     Davanco, D.J. Blumenthal, and E. L. Hu, IEEE Photonics Technology Letters, 17(10): 2092-4,
     October (2005).
J79. “Cross-Phase Modulation Efficiency in Offset Quantum Well and Centered Quantum Well
     Semiconductor Optical Amplifiers,” M. L. Mašanović, V. Lal, E. J. Skogen, J. S. Barton, J. A.
     Summers, J. W. Raring, L. A. Coldren, and D. J. Blumenthal, IEEE Photonics Technology Letters,
     17(11): 2364-6, November (2005).
2006
J80. “All-Optical Packet Compression of Variable Length Packets From 40 to 1500 B Using a Gated
     Fiber Loop,” Suresh Rangarajan, Henrik N. Poulsen, and Daniel J. Blumenthal, IEEE Photonics
     Technology Letters, 18(2): 322-4, January (2006).
J81. “Performance Optimization of an InP-Based Widely Tunable All-Optical Wavelength Converter
     Operating at 40 Gb/s,” Vikrant Lal, Milan L. Masanovic, Joseph A. Summers, Larry A. Coldren, and
     Daniel J. Blumenthal, IEEE Photonics Technology Letters, 18(4): 577-9, February 15 (2006).
J82. “Single-Chip, Widely-Tunable 10 Gbit/s Photocurrent-Driven Wavelength Converter Incorporating
     a Monolithically Integrated Laser Transmitter and Optical Receiver,” M. N. Sysak, J. W. Raring, J.



                                                                                      NOKIA EXHIBIT 1002
                                                                                                         Page 16 of 38
   Case 4:20-cv-02354-JSW Document 50-2 Filed 02/22/21 Page 18 of 39



       S. Barton, M. Dummer, A. Tauke-Pedretti, H. N. Poulsen, D. J. Blumenthal, and L. A. Coldren,
       Electronics Letters, 42(11): 657-8, May 25 (2006).
J83.   “Compact broadband photonic crystal filters with reduced back-reflections for monolithic InP-based
       photonic integrated circuits,” M. Davanço, A. M. Xing, J. W. Raring, E. L. Hu and D. J. Blumenthal,
       IEEE Photonics Technology Letters, 18(10): 1155–7, May (2006).
J84.   "Integrated Optical Payload Envelope Detection and Label Recovery Device for Optical Packet
       Switching Networks," Brian R. Koch, Zhaoyang Hu, John E. Bowers, and Daniel J. Blumenthal,
       Optics Express, 14(12): 5073–8, June 12 (2006).
J85.    “A Single Regrowth Integration Platform for Photonic Circuits Incorporating Tunable SGDBR
       Lasers, and Quantum Well EAMs,” Matthew N. Sysak, James W. Raring, Jonathon S. Barton,
       Matthew Dummer, Daniel J. Blumenthal, and Larry A. Coldren, IEEE Photonics Technology Letters,
       18(15): 1630-2, August (2006).
J86.    “Payload-envelope detection and label-detection integrated photonic circuit for asynchronous
       variable-length optical-packet switching with 40-gb/s RZ payloads and 10-gb/s NRZ labels,” Koch,
       B. R., Zhaoyang Hu, Bowers, J. E., and Blumenthal, D. J., IEEE Journal of Lightwave Technology,
       24(9): 3409–17, September (2006).
J87.    “All-Optical Payload Envelope Detection for Variable Length 40 Gbps Optically Labeled Packets,”
       Brian R. Koch, Zhaoyang Hu, John E. Bowers, Daniel J. Blumenthal, IEEE Photonics Technology
       Letters, 18(17): 1846 – 8, September (2006).
J88.    “Widely tunable monolithically integrated 40Gbit/s wavelength converter with label modulation
       function,” W. B. Zhao, M. L. Masanovic, V. Lal, D. Wolfson, G. Fish, and D. J. Blumenthal,
       Electronics Letters, 42(21): 1241-3, October 12 (2006).
J89.   “Extinction ratio regeneration, signal reamplification (2R), and broadband wavelength switching
       using a monolithically integrated photocurrent driven wavelength converter,” M. N. Sysak, J. W.
       Raring, J. S Barton, H. N. Poulsen, D. J. Blumenthal, and L. A. Coldren, Optics Express, 14(23):
       11348 – 53, November (2006).
J90.    “Broadband Notch Filters Based on Quasi-2-D Photonic Crystal Waveguides for InP-Based
       Monolithic Photonic-Integrated Circuits,” M. Davanço, A. Xing, J. W. Raring, E. L. Hu, D. J.
       Blumenthal, IEEE Journal of Selected Topics in Quantum Electronics, 12(6): 1164 – 74,
       November/December (2006).
J91.   “Broadband return-to-zero wavelength conversion and signal regeneration using a monolithically
       integrated, photocurrent-driven wavelength converter,” M. N. Sysak, L. A. Johansson, J. W. Raring,
       H. N. Poulsen, D. J. Blumenthal, and L. A. Coldren, Electronics Letters, 42(25): 1479 – 81,
       December (2006).
2007
J92. “Monolithic Wavelength Converters for High-Speed Packet-Switched Optical Networks,” V. Lal,
     M. L. Mašanović, J. A. Summers, G. Fish, and D. J. Blumenthal, IEEE Journal of Selected Topics in
     Quantum Electronics, 13(1): 49 – 57, January/February (2007).
J93. “Analysis of Digital System Performance in EAM-Based Photocurrent Driven Wavelength
     Converter,” M. N. Sysak, J. W. Raring, M. Dummer, H. N. Poulsen, D. J. Blumenthal, and L. A.
     Coldren, IEEE Photonics Technology Letters, 19(4): 215–7, February (2007).
J94. “Monolithic Mode-Locked Laser and Optical Amplifier for Regenerative Pulsed Optical Clock
     Recovery,” B. R. Koch, J. S. Barton, M. Masanovic, Z. Hu, J. E. Bowers, and D. J. Blumenthal,
     IEEE Photonics Technology Letters, 19(9): 641-3, May 1(2007).
J95. “Dispersive phase response in optical waveguide-resonator system,” Y. S. Choi, M. Davanço, K. H.
     Lee, C. F. Wang, J. Mack, D. Blumenthal, and E. L. Hu, Applied Phyics. Letters, 90(19): 191108-
     191108-3, May (2007).
J96. “Design and Operation of a Monolithically Integrated Two-Stage Tunable All-Optical Wavelength
     Converter,” J. A. Summers, M. L. Mašanović, Lal, V., and Blumenthal, D. J., IEEE Photonics
     Technology Letters, 19(16): 1248–50, August (2007).
J97. “A Monolithic All-Optical Push–Pull Wavelength Converter,” J. A. Summers, M. L Mašanović. V.
     Lal, and D. J. Blumenthal, IEEE Photonics Technology Letters, 19(21): 1768 – 70, November
     (2007).
J98. “A 10-Gb/s Monolithically Integrated Filterless InGaAsP/InP Widely Tunable Wavelength
     Converter With Conversion Gain,” M. N. Sysak, J. W. Raring, J. S. Barton, H. N. Poulsen, D. J.




                                                                                      NOKIA EXHIBIT 1002
                                                                                                       Page 17 of 38
   Case 4:20-cv-02354-JSW Document 50-2 Filed 02/22/21 Page 19 of 39



      Blumenthal, and L. A. Coldren, IEEE Journal of Lightwave Technology, 25(12): 3748-59 December
      (2007).

2008
J99. “A racetrack mode-locked silicon evanescent laser,” A. W. Fang, B. R. Koch, K. P. Gan, H. Park,
      R. Jones, O. Cohen, M. J. Paniccia, D. J. Blumenthal, and J. E. Bowers, Optics Express, 16(2): 1393-
      8, January (2008).
J100. “A comparison of optical buffering technologies,” E. F. Burmeister, D. J. Blumenthal and J. E.
      Bowers, Optical Switching and Networking, 5(1): 10-18, March (2008).
J101. “SOA gate array recirculating buffer with fiber delay loop,” E. F. Burmeister, J. P. Mack, H. N.
      Poulsen, J. Klamkin, L. A. Coldren, D. J. Blumenthal, and J. E. Bowers, Optics Express, 16(12):
      8451-6, June 9 (2008).
J102. “An Integrated Recirculating optical buffer,” H. Park, John P. Mack, Daniel J. Blumenthal, and John
      E. Bowers, Optics Express, 16(15): 11124-11131, July 10 (2008).
J103. "Variable length optical packet synchronizer,” J. P. Mack, H. N. Poulsen, and D. J. Blumenthal,
      IEEE Photonics Technology Letters, 20(14): 1252-4, July 15 (2008).
J104. "Synchronously loaded optical packet buffer,” J P. Mack, E .F. Burmeister, H .N. Poulsen, J. E.
      Bowers, and D. J. Blumenthal, IEEE Photonics Technology Letters, 20(21): 1757 - 9, November 1
      (2008).
2009
J105. “Mode Locked and Distributed Feedback Silicon Evanescent Lasers,” B. R. Koch, A. W. Fang, E.
      Lively, R. Jones, O. Cohen, D. J. Blumenthal, and J. E. Bowers, Laser and Photonics Review, 3(4):
      355-69, July (2009).
J106. “Photonic integrated circuit optical buffer for packet-switched networks,” E. F. Burmeister, J. P.
      Mack, H. N. Poulsen, M. L. Mašanović, B. Stamenić, D. J. Blumenthal and J. E. Bowers, Optics
      Express, 17 (8): 6629-6635, April (2009)
J107. “Mode Locked and Distributed Feedback Silicon Evanescent Lasers,” B. R. Koch, A. W. Fang, E.
      Lively, R. Jones, O. Cohen, D. J. Blumenthal and J. E. Bowers, Laser and Photonics Review, 3(4):
      355-69, July (2009)
2010
J108. "Synchronous Optical Packet Buffers," J. P. Mack, E. F. Burmeister, J. M. Garcia, H. N. Poulsen, B.
      Stamenic, G. Kurczveil, K. N. Nguyen, K. Hollar, J. E. Bowers and D. J. Blumenthal, To Appear in
      IEEE Journal of Selected Topics in Quantum Electronics (2010)
J109. “Optical Packet Buffers for Backbone Internet Routers,” N. Behesti, E. Burmeister, Y. Ganjali, J. E.
      Bowers, D. J. Blumenthal and N. McKeown, IEEE/ACM Transactions on Networking (2010)
J110. “Ultra-low loss Si3N4 waveguides with low nonlinearity and high power handling capability,” Ming-
      Chun Tien, Jared F. Bauters, Martijn J. R. Heck, Daniel J. Blumenthal and John E. Bowers, Optics
      Express, November 2010 / Vol. 18, No. 23,
2011
J111. “Ultra-low-loss high-aspect-ratio Si3N4 waveguides,” Jared Bauters. Martijn J. R. Heck, Demis
      John, Daoxin Dai, Ming-Chun Tien, Jonathon S. Barton, Arne Leinse, René G. Heideman, Daniel J.
      Blumenthal, and John E. Bowers, Optics Express, February 2011 / Vol. 19, No. 4
J112. “Low-loss Si3N4 arrayed-waveguide grating (de)multiplexer using nano-core optical waveguides,”
      Daoxin Dai, Zhi Wang, Jared F. Bauters, M.-C. Tien, Martijn J. R. Heck, Daniel J. Blumenthal, and
      John E Bowers, Optical Express, Vol. 19, No. 15, July (2011)
J113. “Planar waveguides with less than 0.1 dB/m propagation loss fabricated with wafer bonding,” Jared
      F. Bauters, Martijn J. R. Heck, Demis D. John, Jonathon S. Barton, Christiaan M. Bruinink, Arne
      Leinse, René G. Heideman, Daniel J. Blumenthal, and John E. Bowers, Optics Express, 21 Vol. 19,
      No. 24, November (2011)
J114. “Ultra-high quality factor planar Si3N4 ring resonators on Si substrates,” Ming-Chun Tien, Jared F.
      Bauters, Martijn J. R. Heck, Daryl T. Spencer, Daniel J. Blumenthal, and John E. Bowers, Optics
      Express, Vol. 19, No. 14, July (2011)




                                                                                     NOKIA EXHIBIT 1002
                                                                                                      Page 18 of 38
   Case 4:20-cv-02354-JSW Document 50-2 Filed 02/22/21 Page 20 of 39



2012
J115. “Multi-Layer Platform for Ultra Low Loss Waveguide Applications,” John, D., Heck, M., Bauters, J,
      Moreira, R., Barton, J., Bowers, J.; Blumenthal, D. J., IEEE Photonics Technology Letters, Volume
      24, No. 11, pp. 876-878, June 1 (2012)
J116. “Integrated Hybrid Silicon 50Gb/s DQPSK Receiver,” Kimchau Nguyen, Jonathan D. Peters, Daryl
      T. Spencer, Daniel J. Blumenthal and John E. Bowers, Optics Express, Vol. 20, Issue 18, pp. 19726-
      19734 (2012)
J117. “Multilayer Platform for Ultra-Low-Loss Waveguide Applications.” Demis D. John, Martijn J. R.
      Heck, Jared F. Bauters, Renan Moreira, Jonathon S. Barton, John E. Bowers, and Daniel J.
      Blumenthal, IEEE Photonics Technology Letters, Vol. 24, No. 11, June 1 (2012)
 2013
J118. “Planar Silica Waveguide Polarizers,” Jared F. Bauters, Martijn J. R. Heck, Daoxin Dai, Jonathon S.
      Barton, Daniel J. Blumenthal and John E. Bowers, IEEE Photonics Journal February 1, (2013)
J119. “Sidewall Gratings in Ultra-Low-Loss Si3N4 Planar Waveguides,” Michael Belt, Jock Bovington,
      Renan Moreira, Jared F. Bauters, Martijn J. R. Heck, Jonathon S. Barton, John E. Bowers and Daniel
      J. Blumenthal, Optics Express, Vol. 21, Issue 1, pp. 1181-1188 (2013)
J120. “Ultra-low-loss Planar Si3N4 Waveguide Polarizers,“ J. F. Bauters, M. J. R. Heck, D. Dai, J. S.
      Barton, D. Blumenthal, and J. E. Bowers, IEEE Photonics Journal, February 1, (2013)
J121. “Integrated Ultra-Low-Loss 4-Bit Tunable Delay for Broadband Phased Array Antenna
      Applications,” Moreira, R.L.; Garcia, J.; Li, W.; Bauters, J.; Barton, J.S.; Heck, M.J.R.; Bowers, J.E.;
      Blumenthal, D.J., IEEE Photonics Technology Letters, vol.25, no.12, pp.1165,1168, June15 (2013)
J122. “Arrayed narrow linewidth erbium-doped waveguide-distributed feedback lasers on an ultra-low-
      loss silicon-nitride platform,” M. Belt, T. Huffman, M. L. Davenport, W. Li, J. S. Barton, and D. J.
      Blumenthal, Opt. Letters 38 (22), 4825-4828 (2013)
2014
J123. “Design of integrated hybrid silicon waveguide optical gyroscope,” Sudharsanan Srinivasan,* Renan
      Moreira, Daniel Blumenthal and John E. Bowers, Optics Express, Vol. 22, No. 21, 20 October (2014)
J124. “Erbium-doped waveguide DBR and DFB laser arrays integrated within an ultra-low-loss Si3N4
      platform,” M. Belt and D. J. Blumenthal, Optics Express, Vol. 22 Issue 9, pp.10655-10660 (2014)
2015
J125. “Monolithically integrated dual-channel coherent receiver with widely tunable local oscillator for
      100 Gbps dual-polarization quadrature phase shift keying applications,” Skahan P.J., Gundavarapu
      S., Nguyen K.N., Baney D.M., Blumenthal D.J., Opt Lett. 2015 Sep 15; 40(18):4313-6. doi:
      10.1364/OL.40.004313 (2015).
J126. "Frequency modulated lasers for interferometric optical gyroscopes," Tin Komljenovic,* Minh A.
      Tran, Michael Belt, Sarat Gundavarapu, Daniel J. Blumenthal, and John E. Bowers, Optics Letter,
      Vol. 41, No. 8, April 15, pp. 1773-1776 (2016)

2016
J127. "Frequency modulated lasers for interferometric optical gyroscopes," Tin Komljenovic, Minh A.
      Tran, Michael Belt, Sarat Gundavarapu, Daniel J. Blumenthal, and John E. Bowers, Optics Letter,
      Vol. 41, No. 8, April 15, pp. 1773-1776 (2016)
J128. “Programmable Eye-Opener Lattice Filter for Multi-Channel Dispersion Compensation using an
      Integrated Compact Low-Loss Silicon Nitride Platform,” Renan Moreira, Sarat Gundavarapu and
      Daniel J. Blumenthal, Optics Express, vol. 24 No. 15 (2016)

2017
J129. "Ultra-low Loss Large Area Waveguide Coils for Integrated Optical Gyroscopes," T. Huffman, M.
      Davenport, M. Belt, J. E. Bowers, and D. J. Blumenthal, IEEE Photonics Technology Letters (PTL),
      Vol. 29, No. 2, pp. 185-188 (2017)
J130. "Ultra-low-loss Ta2O5-core/SiO2-clad planar waveguides on Si substrates," Michael Belt, Michael L.
      Davenport, John E. Bowers, and Daniel J. Blumenthal, Optica 4, 532-536 (2017)
J131. M. Tran, T. Komljenovic, J. Hulme, MJ Kennedy, D. Blumenthal, J. Bowers, ‘Integrated optical
      driver for interferometric optical gyroscopes,” Optics Express, vol. 25, no. 4, 20 Feb. 2017.




                                                                                        NOKIA EXHIBIT 1002
                                                                                                          Page 19 of 38
   Case 4:20-cv-02354-JSW Document 50-2 Filed 02/22/21 Page 21 of 39




CONFERENCE PAPERS
1987
C1. P. R. Prucnal, D. J. Blumenthal, and P. A. Perrier, “Self-Routing Optical Switch With Optical
     Processing,” Proceedings of the Topical Meeting on Photonic Switching, Incline Village, NV,
     Gustafson and Smith eds. Springer-Verlag, pp. 193-5, March 18-20 (1987).
1988
C2. D. J. Blumenthal, P. R. Prucnal, L. Thylen, and P. Granestrand, “Self-Routing of 12.5 Gbit/s Data
     Through an 8x8 LiNbO33 Optical Crossbar Switch Matrix with Gigahertz Switching Speed,”
     Technical Digest of the Optical Fiber and Communication Conference (OFC ’88), New Orleans,
     LA, Paper THL1 9, vol. 1: 183-4, January 25-28 (1988).
C3. D. J. Blumenthal and L. Thylen, “A Parallel Optical Processor for Control of Optical Crossbar
     Switches,” Proceedings of the 14th European Conference on Optical Communications (ECOC ‘88),
     Brighton, England, Conference publication 292, vol. 1: 268-71, September 11-15 (1988).
1989
C4. D. J. Blumenthal, “Optical Parallel Processor for Control of Photonic Switching Networks,” OSA
     Proceedings on Photonic Switching, Salt Lake City, UT, Midwinter and Hinton eds. vol. 3: 280-5,
     March 1-3 (1989).
1990
C5. D. J. Blumenthal, “A Photonic Batcher-Banyan Switch Architecture with Optical Control,” Annual
     Meeting of the Optical Society of America (OSA ‘90), Boston, MA, Paper ThY28, pp. 194-5,
     November 8 (1990).
1992
C6. D. J. Blumenthal, J. Ma, K. Y. Chen, and J. R. Sauer, “A Two-by-Two Photonic Switch for
     Computer Interconnects,” Technical Digest of the Optical Fibers and Communications Conference
     (OFC ’92), San Jose, CA, Paper H8, vol. 5: 135-6, February 2-7 (1992).
C7. D. J. Blumenthal, J. R. Sauer, H. Lee, and B. Van Zeghbroeck, “A Packet-Rate Real-Time
     Reconfigurable Photonic Switch for Computer Interconnects,” Proceedings of the IEEE/LEOS
     Topical Meeting on Optical Multi-Access Networks, Santa Barbara, CA, Paper MB3, pp. A11-A12,
     August 3-5 (1992).
C8. D. J. Blumenthal and J. R. Sauer, “Multiwavelength Information Processing in Gigabit Photonic
     Switching Networks,” Proceedings of the SPIE OE/FIBERS '92, Meeting on Multigigabit Fiber
     Communications Conference, Boston, MA, vol. 1787: pp. 43-54, September 8-9 (1992).
1993
C9. D. J. Blumenthal and J. R. Sauer, “Multiwavelength Logic Gates with High Computational
     Efficiency,” Technical Digest of the Topical Meeting on Optical Computing, Palm Springs, CA,
     Paper OWA2-1, vol. 7: 64-7, March 16-19 (1993).
1994
C10. V. Ramanan, H. F. Jordan, J. R. Sauer and D. J. Blumenthal, “An Extended Fiber-Optic Backplane
     for Multiprocessors,” Proceedings of the Twenty-Seventh Hawaii International Conference on
     System Sciences, Los Alamitos, CA, vol. 1: 462-70, January 4-7 (1994).
C11. D. J. Blumenthal, R. J. Feuerstein, and J. R. Sauer, “A Multihop 2x2 Photonic Packet Switch With
     Header Reinsertion,” Technical Digest of the Optical Fibers and Communications Conference
     (OFC '94), San Jose, CA, Paper ThN1, vol. 4: 237-8, February 20-25 (1994).
C12. D. J. Blumenthal, “Bandwidth Limits in All-Optical Multihop Photonic Packet Switched Networks,”
     Technical Digest of the Optical Fibers and Communications Conference (OFC '94), San Jose, CA,
     Paper WM10, vol. 4: 164-5, February 20-25 (1994).
C13. D. J. Blumenthal, R. J Feuerstein and J. R. Sauer. “A multihop 2*2 all-optical photonic packet
     switch,” 1994 IEEE International Conference on Communications SUPERCOMM/ICC '94, New
     Orleans, LA, vol.3:1364-8, May 1-5 (1994).




                                                                                 NOKIA EXHIBIT 1002
                                                                                                 Page 20 of 38
   Case 4:20-cv-02354-JSW Document 50-2 Filed 02/22/21 Page 22 of 39



1995
C14. D. J. Blumenthal, P. Granestrand, and L. Thylen, “A Comparison of Coherent Crosstalk Induced
     BER Floors in Four Types of NxN Space Photonic Switches,” Technical Digest of the OSA
     Photonics in Switching, Salt Lake City, UT, vol. 12: 109-10, March 15-17 (1995).
1996
C15. D. J. Blumenthal, M. Shell, Q. Gao, M. Vaughn, A. Wang, P. J. Rigole, and S. Nilsson,
     “Experimental Demonstration of an All-Optical Multi Hop Routing Node for Wavelength Routed
     Networks,” Technical Digest of the Optical Fiber Communications Conference (OFC ’96), San
     Jose, CA, Paper WD3, vol. 2: 108-10, February 25 (1996).
C16. M. D. Vaughn, A. Wang, and D. J. Blumenthal, “Simultaneous All-Optical Wavelength Conversion
     of Baseband Payload and Removal/Replacement of Subcarrier Multiplexed Headers,” Technical
     Digest of the Optical Fiber Communications Conference (OFC ‘96), San Jose, CA, paper WG6, vol.
     2: 128-9, February 25 (1996).
C17. M. D. Sprenger, A. Benner, D. J. Blumenthal, J. Feehrer, R. Feuerstein, H. Jordan, J. Lianhua, C.
     Love, A. Ramanan, L. Ramfelt, and J. R. Sauer, “Architecture and Implementation of a High-
     Performance Optical Deflection Network for Distributed Parallel Processing,” Proceedings of the
     2nd International Workshop on High-Speed Network Computing (HiNet ’96), held in conjunction
     with the 10th International Parallel Processing Symposium (IPPS ’96), Honolulu, HI, April 15-19
     (1996).
C18. D. J. Blumenthal, Q. Gao, C. Scholz, and N. Kothari, “Low Crosstalk, High Extinction-Ratio
     Wavelength Switching Based on Four-Wave Mixing in Semiconductor Optical Amplifiers,”
     Proceedings of the Conference on Lasers and Electro-optics CLEO '96, Anaheim, CA, Paper
     CThB4, pp. 346-7, June 2-7 (1996).
C19. S. Han, M. Vaughn, M. Laskar, and D. J. Blumenthal, “Simulation of a Subcarrier Multiplexed
     Communications System: A Performance Enhancement Tool,” IEEE MTT-S International
     Microwave Symposium Digest, San Francisco, CA, Paper WE3F-22, vol. 2: 895-8, June 17-21
     (1996).
C20. P. J. Rigole, S. Nilsson, T. Klinga, L. Backbom, B. Stalnacke, E. Berlind, B. Stoltz, D. J.
     Blumenthal, and M. Shell, “Wavelength Coverage Over 67 nm with a GCSR Laser. Tuning
     Characteristics and Switching Speed,” 15th IEEE International Semiconductor Laser Conference,
     Haifa, Israel, Paper W1.1, pp. 125-6, October 13-18 (1996).
1997
C21. P. J. Rigole, S. Nilsson, E. Berglind, D. J. Blumenthal, and M. Shell, “State of the Art; Widely
     Tunable Lasers,” SPIE-International Society for Optical Engineering., San Jose, CA, vol. 3001:
     382-93, February 10-13 (1997).
C22. M. Shell, M. D. Vaughn, L. Dubertrand, D. J. Blumenthal, P. J., Rigole, and S. Nilsson “Multi-Node
     Demonstration of a Multihop Wavelength-Routed All-Optical Packet Switched Network
     (MMPONet),” Technical Digest of the Optical Fiber Communications Conference (OFC ’97),
     Dallas, TX, Paper TuR2, vol. 6: 91-2, February 16-21 (1997).
C23. P. J. Rigole, M. Shell, S. Nilsson, D. J. Blumenthal, and E. Berglind, “Fast Wavelength Switching in
     a Widely Tunable GCSR Laser Using a Pulse Pre-Distortion Technique,” Technical Digest of the
     Optical Fiber Communications Conference (OFC ’97), Dallas, TX, Paper WL63, vol. 6: 231-2,
     February 16-21 (1997).
C24. S. Han, R. Gaudino, M. Shell, J. Laskar, and D. J. Blumenthal, “Optimization of RF
     (MMIC)/Optical Subcarrier Multiplexed Communications System,” 1997 IEEE Microwave Theory
     and Techniques Symposia (MTT '97), Denver, CO, Paper WE3F-61, vol. 2: 979-82, June 8-13
     (1997).
C25. M. Shell and D. J. Blumenthal, “Improved Crosstalk Performance in a 10-Wavelength 25 Gbps
     Multichannel Laser Array Transmitter Module,” 1997 digest of the LEOS Summer Topical
     Meetings, Montreal, Canada, Paper FA3, pp. 64-5, August 11-15 (1997).
C26. R. Gaudino, S. Han, M. Shell, M. D. Vaughn, D. J. Blumenthal, and J. Laskar, “A Digital-
     Baseband/SCM-Control Fiber Link with Novel Differential Integrated Optic Transmitter and
     Microwave/Optical Direct Detection Receiver,” International Topical Meeting on Microwave
     Photonics ‘97, Duisburg/Essen, Germany, Paper FR1-2, pp. 193-6 September 3-5 (1997).
C27. R. Gaudino and D. J. Blumenthal, “A Novel AOTF - Based Multichannel Add-Drop Node and its
     Cascadability in WDM Ring Networks,” Proceedings of the 23rd European Conference on Optical



                                                                                    NOKIA EXHIBIT 1002
                                                                                                     Page 21 of 38
   Case 4:20-cv-02354-JSW Document 50-2 Filed 02/22/21 Page 23 of 39



     Communication (ECOC ‘97), Edinburgh, Scotland, UK, Paper TH2A, vol. 4: 77-80, September 22-
     25 (1997).
C28. C. J. Scholz, L. Dubertrand, and D. J. Blumenthal, “Demonstration of Two Simultaneous
     Independently Controlled Wavelength Conversions Using a Novel Dual-Pump/Dual-Probe Four
     Wave Mixing Configuration in a Semiconductor Optical Amplifier,” 10th Annual Meeting
     IEEE/LEOS ’97, San Francisco, CA, Paper MK2, Vol. 1: 90-1, November 10-13 (1997).
C29. C. J. Scholz and D J Blumenthal, “The Influence of Wavelength Dependent Distributed Gain on the
     Optical Bandwidth of Semiconductor Optical Amplifiers,” 10th Annual Meeting IEEE/LEOS ‘97,
     San Francisco, CA, Paper TuN3, pp. 248-9, November 10-13 (1997).
1998
C30. R. Gaudino, M. Shell, M. Len, G. Desa, C. Juckett, and D. J. Blumenthal, “Experimental
     Demonstration of MOSAIC: A Multiwavelength Optical Subcarrier Multiplexed Controlled
     Network,” Technical Digest of the Optical Fiber Communication Conference (OFC ’98), San Jose,
     CA, Paper ThP4, vol. 2: 330-1, February 22-7 (1998).
C31. R. Gaudino and D. J. Blumenthal, “WDM Channel Equalization Based on Subcarrier Signal
     Monitoring,” Technical Digest of the Optical Fiber Communication Conference (OFC ’98), San
     Jose, CA, Paper WJ6, vol. 2: 167-8, February 22-27 (1998).
C32. F. Arecco, D. Scarano, S. Schmid, D. J. Blumenthal and R. Gaudino, “Acousto Optic Devices in
     Add/Drop Multiplexer Nodes,” Proceedings of the 24th European Conference on Optical
     Communication (ECOC ’98), Madrid, Spain, vol. 1: 117-8, September 20-22 (1998).
1999
C33. D. J. Blumenthal, A. Carena, L. Rau, V. Curri, and S. Humphries, “WDM Optical IP Tag Switching
     with Packet-Rate Wavelength Conversion and Subcarrier Multiplexed Addressing,” Technical
     Digest of the Optical Fiber Communication Conference (OFC ’99), San Diego, CA, Paper THM1,
     pp. 162-4, February 21-26 (1999).
C34. S. Han, J. Laskar, D. J. Blumenthal, “Four Channel MMIC-based Transmitter Module for
     RF/Optical Multiplexed Communications,” IEEE IMS 1999, Anaheim, CA, Paper WE3B-5, pp.
     1121-4, June 14-18 (1999).
C35. O. Lavrova, D. J. Blumenthal, “Wavelength Tuning Characteristics of the Grated Coupler Sampled
     Reflector Laser for Wavelength Switching Applications,” OSA Topical Meeting on Integrated
     Photonics Research ’99, Paper RMB5-1, pp. 20-22, Santa Barbara, CA, July 19-21 (1999).
C36. G. Rossi, R. Doshi, and D. J. Blumenthal, “Optical Network Channel Protection Switching
     Demonstration Using a Bi-Directional Reconfigurable Multichannel Add/Drop Multiplexer,” OSA
     Topical Meeting on Photonics in Switching ’99, Santa Barbara, CA, Paper PThB2-1, pp. 71-72, July
     21-23 (1999).
C37. L. Rau, P. Öhlen, and D. J. Blumenthal, “Broadband Optically Preamplified Receiver Using an
     Interferometric Wavelength Converter,” OSA Topical Meeting on Photonics in Switching ’99, Paper
     PThD4-1, pp. 103-5 Santa Barbara, CA, July 21-23 (1999).
C38. R. P. Mirin, D. J. Blumenthal, “Quantum Dot Semiconductor Optical Amplifiers,” OSA Topical
     Meeting on Advanced Semiconductor Lasers and Their Applications ’99 (ASLA ’99), Paper AthD4-
     1, pp. 153-5, Santa Barbara, CA, July 21-23 (1999).
C39. D. J. Blumenthal, “Techniques for all-optical label swapping using SOA-based wavelength
     conversion and subcarrier multiplexing,” Topical Meeting on Photonics in Switching. OSA Trends
     in Optics and Photonics Series, Santa Barbara, CA, Paper SSP1, vol. 32: 135-7, July 21-23 (1999).
C40. C. Scholz, B. Olsson, and D. J. Blumenthal, “The Influence of Carrier Modulation on the Broadband
     Frequency Response of FWM in a Semiconductor Optical Amplifier,” Proceedings of the 25TH
     European Conference on Optical Communication (ECOC ’99), Nice, France, vol. 1: I324-I325,
     September 26-30 (1999).
C41. O. A. Lavrova and D. J. Blumenthal, “Tuning and Aging Characteristics of Multisection Tunable
     GCSR lasers for Dense WDM Applications,” IEEE/LEOS Annual Meeting, San Francisco, CA,
     Paper TuI4, pp. 200-1, November 8-11 (1999).
2000
C42. B. Olsson, P. Öhlen, L. Rau, and D. J. Blumenthal, “A Simple and Robust High-Speed Wavelength
     Converter Using Fiber Cross-Phase Modulation and Filtering,” Technical Digest of the Optical
     Fiber Communication Conference (OFC ’00), Baltimore, MD, Paper WE1-1, pp. 64-6, March 5-10
     (2000).



                                                                                  NOKIA EXHIBIT 1002
                                                                                                   Page 22 of 38
   Case 4:20-cv-02354-JSW Document 50-2 Filed 02/22/21 Page 24 of 39



C43. G. Rossi, O. Jerphagnon, B. Olsson, and D. J. Blumenthal, “Optical SCM Data Extraction Using a
     Fiber Loop Mirror for WDM Network Systems,” Technical Digest of the Optical Fiber
     Communication Conference (OFC ’00), Baltimore, MD, Paper FD7-1, pp. 74-6, March 5-10 (2000).
C44. B. E. Olsson and D. J. Blumenthal, “Generation of 10 GHz Pulse Packets From an Actively Mode-
     Locked Fiber Ring Laser”, Technical Digest of the Optical Fiber Communication Conference (OFC
     ’00), Baltimore, MD, Paper ThL2-1, pp. 175-7, March 5-10 (2000).
C45. O. Lavrova and D. J. Blumenthal, “Accelerated Aging and Reliability Studies of Multi-Section
     Tunable GCSR Lasers for Dense WDM Applications,” Technical Digest of the Optical Fiber
     Communication Conference (OFC ’00), Baltimore, MD, Paper TuL2-1, pp. 181-3, March 5-10
     (2000).
C46. B. E. Olsson, P. Öhlen, and D. J. Blumenthal, “Noise in Sliced Self-phase Modulation Broadened
     Spectrum,” Proceedings of the Conference on Lasers and Electro-Optics (CLEO '00), San
     Francisco, CA, Paper CtuG5, pp. 207-8, May 7-12 (2000).
C47. P. Öhlén, B. E. Olsson, and D. J. Blumenthal, “Wavelength Dependence and Power Requirements
     of a Wavelength Converter Based on XPM in an Optical BER,” Proceedings of the Conference on
     Lasers and Electro-Optics (CLEO '00), San Francisco, CA, Paper CW14, pp. 279-80, May 7-12
     (2000).
C48. M. L. Nielsen, B. E. Olsson, D. J. Blumenthal, “Pulse Extinction Ratio Improvement Using SPM in
     an SOA for OTDM systems applications,” Proceedings of the 26th European Conference on
     Optical Communication (ECOC 00), Munich, Germany, Paper 1.1.6, pp. 23-4, September 4-7
     (2000).
C49. L. Rau, B. E. Olsson, M. L. Mašanović, and D. J. Blumenthal, “Noise in Fiber XPM Wavelength
     Converters due to Excitation of Random Higher Order Solitons,” Proceedings of the 26th European
     Conference on Optical Communication (ECOC 00), Munich, Germany, Paper 8.2.3, pp. 93-4,
     September 4-7 (2000).
C50. B. E. Olsson and D. J. Blumenthal, “Pulse Width Restoration and PMD Suppression Using Fiber
     Self-Phase Modulation,” Proceedings of the 26th European Conference on Optical Communication
     (ECOC 00), Munich, Germany, Paper P.1.1, pp. 127-8, September 4-7 (2000).
C51. T. Dimmick, R. Doshi, R. Rajaduray, and D. J. Blumenthal, “Optically Multiplexed Transmitter for
     Hybrid Baseband and Subcarrier Multiplexed Signals,” Proceedings of the 26th European
     Conference on Optical Communication (ECOC 00), Munich, Germany, Paper 6.2.5, pp. 155-6,
     September 4-7 (2000).
C52. O. A. Lavrova, G. Rossi, and D. J. Blumenthal, “Rapid Tunable Transmitter with Large Number of
     ITU Channels Accessible in less than 5ns,” Proceedings of the 26th European Conference on
     Optical Communication (ECOC 00), Munich, Germany, Paper 6.3.5, pp. 169-70, September 4-7
     (2000).
C53. G. Rossi and D. J. Blumenthal, “Optical SNR Monitoring in Optical Networks Using Subcarrier
     Multiplexing,” Proceedings of the 26th European Conference on Optical Communication (ECOC
     00), Munich, Germany, P.3.17, pp. 227-8, September 4-7 (2000).
C54. B. E. Olsson and D. J. Blumenthal, “80 to 10 Gbit/s Demultiplexing Using Fiber Cross-Phase
     Modulation and Optical Filtering,” Proceedings of the IEEE/LEOS 13TH Annual Meeting, (LEOS
     ’00), Rio Grande, Puerto Rico, Paper TuB 4, pp. 159-160, November 13–16 (2000).
C55. O. Lavrova and D. J. Blumenthal, “Detailed Transfer Matrix Based Dynamic Model for
     Multisection Widely-Tunable GCSR Lasers,” Proceedings of the IEEE/LEOS 13TH Annual
     Meeting, (LEOS ’00), Rio Grande, Puerto Rico, Paper WV 1, pp. 579-580, November 13–16 (2000).
2001
C56. L. Rau, B-E Olsson, and D. J. Blumenthal, “Wavelength multicasting using an ultra high-speed all-
     optical wavelength converter,” OFC 2001. Optical Fiber Communication Conference and Exhibit,
     Anaheim, CA, Technical Digest Postconference Edition, vol.3: pp. WDD52-1, March 17-23 (2001).
C57. L. Rau and D. J. Blumenthal, “Wavelength Multicasting Using an Ultra High-Speed All-Optical
     Wavelength Converter,” Technical Digest of the Optical Fiber Communication Conference (OFC
     ’01), Anaheim, CA., Paper WDD52-1, March 17-23 (2001).
C58. X. Yan, M. L. Mašanović, and D. J. Blumenthal, “A New Simple Process for Optical Mode
     Converter Integration with Active and Passive Waveguides in InGaAs/InP,” Topical Meeting on
     Integrated Photonic Research, Monterey, CA., Paper IMG4-1, June 11-13 (2001).




                                                                                  NOKIA EXHIBIT 1002
                                                                                                   Page 23 of 38
   Case 4:20-cv-02354-JSW Document 50-2 Filed 02/22/21 Page 25 of 39



C59. O.A. Lavrova, L. Rau, and D. J. Blumenthal, “A Rapid Tunable Wavelength Converter Using a
     GCSR Laser,” Topical Meeting on Photonics in Switching 2001, Monterey, CA, Paper PThC3-1,
     vol. 59: 42-4, June 13-15 (2001).
C60. L. Rau, B. E. Olsson, and D. J. Blumenthal, “A Multiwavelength RZ Pulse Source Generator Using
     an Ultra High-Speed All-Optical Wavelength Converter,” Topical Meeting on Photonics in
     Switching 2001, Monterey, CA, Paper PThC4-2, vol. 59: 45-8, June 13-15 (2001).
2002
C61. L. Rau, S. Rangarajan, W. Wang, and D. J. Blumenthal, "All-Optical Add-Drop of an OTDM
     Channel Using an Ultra-Fast Fiber Based Wavelength Converter," Conference on Optical
     Communications (OFC ’02), Anaheim, CA, Paper WM1, vol. 1: 259-61, March 19 - 21 (2002).
C62. L. Rau, S. Rangarajan, D. J. Blumenthal, H. F. Chou, Y. J. Chiu and J. E. Bowers, “Two-Hop All-
     Optical Label Swapping with Variable Length 80 Gb/s Packets and 10 Gb/s Labels using Nonlinear
     Fiber Wavelength Converters, Unicast/Multicast Output and a Single EAM for 80- to 10Gb/s Packet
     Demultiplexing,” Conference on Optical Communications (OFC ’02), Anaheim, CA, Paper FD2-1-
     3, vol. 2, March 19 - 21 (2002).
C63. M. Davanço, L. Thylen, and D. J. Blumenthal, "An Extremely Narrowband Directional Coupler
     Wavelength Filter Based on Electromagnetically Induced Transparency," Technical Digest of the
     Integrated Photonics Research Conference (IPR '02), Vancouver, Canada, Paper IThF2, July 17-19
     (2002).
C64. M. L. Mašanović, E. J. Skogen, J. S. Barton, J. Sullivan, D. J. Blumenthal, and L. A. Coldren,
     "Cascaded Multimode Interference-Based 1x2 Light Splitter for Photonic Integrated Circuits,"
     Technical Digest of the Integrated Photonics Research Conference (IPR '02), Vancouver, Canada,
     Paper IThA5, vol. 78, July 17-19 (2002).
C65. H. F Chou, Y. J. Chiu, J. E. Bowers, L. Rau, S. Rangarajan, D. J. Blumenthal, and W. Wang,
     "Standing-Wave Enhanced Electroabsorption Modulator for 80-Gb/s to 10-Gb/s OTDM
     Demultiplexing," 28th European Conference on Optical Communication (ECOC '02), Copenhagen,
     Denmark, Paper 8.4.6, vol 3: 1-2, September 8-12 (2002).
C66. L. Ceuppens. O. L. Jerphagnon, J. Lang. A. Banerjee and D. J. Blumenthal, “Intelligent optical
     networking with photonic cross connections,” Proceedings of SPIE - the International Society for
     Optical Engineering, San Jose, CA, vol.4910: 1-14, September 9 (2002).
C67. W. Wang, L. Rau, D. J. Blumenthal, "40 Gbps All-Optical Wavelength Conversion Using XPM in a
     Distributed Fiber Raman Amplifier," Technical Digest of the Conference for Optical Amplifiers and
     their Applications (OAA '02), Vancouver, Canada, September 14-17 (2002).
2003
C68. H. F. Chou, Y. J. Chiu, J. E. Bowers, W. Wang, and D. J. Blumenthal, "160-Gb/s to 10-Gb/s OTDM
     Demultiplexing Using a Traveling-Wave Electroabsorption Modulator," Optical Fiber
     Communication Conference (OFC '03), Atlanta, GA, Paper ThX2, March 23 - 28 (2003).
C69. Z. Hu, S. Rangarajan, L. Rau, and D. J. Blumenthal, "An All-Optical Bufferless Multiwavelength
     Scheduler for 40 Gb/s Asynchronous Variable Length Optical Packets," Optical Fiber
     Communication Conference (OFC '03), Atlanta, GA, Paper MF105, March 23 - 28 (2003).
C70. W. Wang, H. N. Poulsen, L. Rau, D. J. Blumenthal, H. F. Chou, J. E. Bowers, and L. Grüner-
     Nielsen, "80-Gb/s Regenerative Wavelength Conversion Using a Hybrid Raman/EDFA Gain-
     Enhanced XPM-Converter with Highly-Nonlinear-Fiber," Optical Fiber Communication
     Conference (OFC '03), Atlanta, GA, Paper TuH2, March 23 - 28 (2003).
C71. M. L. Mašanović, E. J. Skogen, J. S. Barton, V. Lal, D. J. Blumenthal, and L. A. Coldren,
     "Demonstration of Monolithically-Integrated InP Widely-Tunable Laser and SOA-MZI Wavelength
     Converter," 15th International Conference on Indium Phosphide and Related Materials (IPRM '03),
     Santa Barbara, CA, Paper WB2.2, pp. 289-91, May 12-16 (2003).
C72. Evelyn Hu, Aimin Xing, Marcelo Davanco, Chuck Reese, and Dan Blumenthal, “InP Photonic
     Crystal Membrane Structures,” 15th International Conference on Indium Phosphide and Related
     Materials (IPRM '03), Santa Barbara, CA, Invited Paper TuA2.4, pp. 69-71, May 12-16 (2003).
C73. Aimin Xing, Marcelo Davanco, Daniel J. Blumenthal, and Evelyn L. Hu, “Fabrication of 2D InP
     Photonic Crystal Membrane Structures,” 47th International Conference on Electron, Ion, and
     Photon Beam Technology and Nanofabrication (EIPBN ‘03), Tampa, FL, Paper PH2, May 27-30
     (2003).




                                                                                  NOKIA EXHIBIT 1002
                                                                                                   Page 24 of 38
   Case 4:20-cv-02354-JSW Document 50-2 Filed 02/22/21 Page 26 of 39



C74. A. Xing, M. Davanco, D. Blumenthal, and E. Hu, “Quasi 2D Photonic Crystal Membrane: Band
     Gap Sensitivity to Fabrication Accuracy,” 47th International Conference on Electron, Ion, and
     Photon Beam Technology and Nanofabrication (EIPBN 2003), Tampa, FL, May 27-30 (2003).
C75. X. Yan, M. Davanço, M. L. Mašanović, W. Zhao, and D. J. Blumenthal, "InP Laterally Tapered
     Wide-Bandwidth Optical Power Splitter," Conference on Lasers and Electro Optics (CLEO '03),
     Baltimore, MD, Paper CWP7, June 1-6 (2003).
C76. Aimin Xing, Marcelo Davanco, Daniel Blumenthal, Evelyn Hu, “Systematic Transmission
     Characterization of 2D InP Photonic Crystal Membrane Structures,” Conference on Lasers and
     Electro Optics (CLEO '03), Baltimore, MD, Paper JWC6, June 1-6 (2003).
C77. Rajaduray R. and Blumenthal D. J “Performance evaluation of optical subcarrier multiplexed
     systems using transient analysis,” Proceedings of SPIE - the International Society for Optical
     Engineering, San Jose, CA, vol.4989: 111-22, June 17 (2003).
C78. Milan L. Mašanović, Vikrant Lal, Jonathon S. Barton, Larry A. Coldren, and Daniel J. Blumenthal,
     “Wavelength Conversion over a 50nm input and 21nm output wavelength range using a
     monolithically integrated tunable all-optical MMI-MZI (TAOMI) wavelength converter,” 29th
     European Conference on Optical Communication and 14th International Conference on Integrated
     Optics and Optical Fibre Communication (ECOC-IOOC '03), Rimini, Italy, Paper TH1.6.5, pp.930-
     931 September 21-25 (2003).
C79. Hsu-Feng Chou, Zhaoyang Hu, John E. Bowers, Daniel J. Blumenthal, Kohsuke Nishimura, Ryo
     Inohara, and Masashi Usami, “Simultaneous Demultiplexing, Electrical Clock Recovery and Optical
     Clock Generation using Photocurrent and Subharmonic Frequency in a Traveling-wave
     Electroabsorption Modulator,” 29th European Conference on Optical Communication and 14th
     International Conference on Integrated Optics and Optical Fibre Communication (ECOC-IOOC
     '03), Rimini, Italy, Paper We4.P.110, September 21-25 (2003).
C80. Jonathan S. Barton, Milan L. Masanovic, Matthew N. Sysak, Erik J. Skogen, John Hutchinson,
     Daniel J. Blumenthal, Larry A. Coldren, “A Novel Monolithically-Integrated Widely-Tunable
     Wavelength Converter Based on a SGDBR-SOA-MZ Transmitter and Integrated Photo-Detector,”
     Photonics in Switching, Versailles (Paris), France, Paper PS.Mo.A9, pp.34-6, September 28-October
     2 (2003).
C81. H. N. Poulsen, S. Rangarajan, R. Gyurek, P. G. Donner, M. Hirsch and D. J. Blumenthal,
     “Demonstration of a True Layer-3 IP to Optical Label Switching Adaptation Layer with Rapid
     Ingress Wavelength Tuning and Variable Length Packets," Photonics in Switching, Versailles
     (Paris), France, September 28 - October 2 (2003).
C82. M. Mašanović, R. Doshi, V. Lal, J. Barton, L. Coldren, and D. Blumenthal, “First Demonstration of
     both Analog and Digital Wavelength Conversion using a Monolithically-Integrated InP Widely
     Tunable All-Optical Wavelength Convertoer (TAO-WC),” Photonics in Switching, Versailles
     (Paris), France, September 28-October 2 (2003).
C83. R. Rajaduray, Daniel J. Blumenthal, and S. Ovadia, “Impact of Burst Assembly Parameters on Edge
     Router Latency in an Optical Burst Switching Network,” 2003 IEEE LEOS Annual Meeting
     Conference Proceedings, Tucson, AZ, Paper MF3, pp. 55-6, October 26-30 (2003).
C84. Marcelo Davanço and Daniel Blumenthal, “Exploring Slow and Dispersive Propagation in 2D Line-
     -Defect Photonic Crystal Waveguides,” 2003 IEEE LEOS Annual Meeting Conference Proceedings,
     Tucson, AZ, Paper TuE4, pp. 216-217, October 26-30 (2003).
C85. M. L. Mašanović, V. Lal, L. A. Johansson, J. S. Barton, L. A. Coldren, and D. J. Blumenthal,
     “Characterization of the Chirp Properties of a Monolithically-Integrated Widely-Tunable All-
     Optical Wavelength Converter (TAO-WC),” IEEE LEOS Annual Meeting Conference Proceedings,
     Tucson, AZ, Paper TuCC3, pp. 435-6, October 26-30 (2003).
C86. R. Doshi, M. L. Mašanović, D. J. Blumenthal, “Demonstration of Regenerative any lin to any lout
     Wavelength Conversion using a 2-Stage All-Optical Wavelength Converter Consisting of a XGM
     SOA-WC and InP Monolithically-integrated Widely-Tunable MZI SOA-WC,” 2003 IEEE LEOS
     Annual Meeting Conference Proceedings, Tucson, AZ, Paper WA5, pp. 477-8, October 26-30
     (2003).
2004
C87. L. Rau, W. Wang, H.N. Poulsen, and D. J. Blumenthal, “160 Gb/s OTDM wavelength conversion
     using XPM in dispersion shifted fiber,” Optical Fiber Communication Conference (OFC ‘04), Los
     Angeles, CA, Paper FA7, vol. 2: 375-7, February 22-27 (2004).



                                                                                  NOKIA EXHIBIT 1002
                                                                                                  Page 25 of 38
   Case 4:20-cv-02354-JSW Document 50-2 Filed 02/22/21 Page 27 of 39



C88. H. F. Chou, J. E. Bowers, and D. J. Blumenthal, “Novel photocurrent-assisted wavelength (PAW)
      converter using a traveling-wave electroabsorption modulator with signal monitoring and
      regeneration capabilities,” Optical Fiber Communication Conference (OFC ’04), Los Angeles, CA,
      Paper FD4, February 22-27 (2004).
C89. M. L. Mašanović, V. Lal, J. A. Summers, J. S. Barton, E. J. Skogen, L. A. Coldren, and D. J.
      Blumenthal, “10 Gbps and 2.5 Gbps error-free operation of a monolithically integrated widely-
      tunable all-optical wavelength converter with independent phase control and output 35nm tuning
      range,” Optical Fiber Communication Conference (OFC ’04), Los Angeles, CA, Paper ThS5,
      February 22-27 (2004).
C90. W. Wang, L. Rau, H. N. Poulsen, and D. J. Blumenthal, “Raman Gain Enhanced FWM 160 Gb/s
      OTDM Demultiplexer with Highly-Nonlinear-Fiber,” Optical Fiber Communication Conference
      (OFC ’04), Los Angeles, CA, Paper ThN3, February 22-27 (2004).
C91. Z. Hu, B. Liu, X. Yan, J. E. Bowers, and D. J. Blumenthal, “All-optical 40 Gb/s Cross-Wavelength
      Transferred Clock Recovery For 3R Wavelength Conversion Using a Traveling-wave
      Electroabsorption Modulator-Based Resonant Cavity,” Optical Fiber Communication Conference
      (OFC), Los Angeles, CA, Paper WD3, February 22-27 (2004).
C92. L. Rau, W. Wang, H. N. Poulsen, and D. J. Blumenthal, “160 Gb/s OTDM wavelength conversion
      using XPM in dispersion shifted fiber,” Optical Fiber Communication Conference (OFC), Los
      Angeles, CA, Paper FA7, February 22-27 (2004).
C93. Z. Hu, H. F. Chou, J. E. Bowers, and D. J. Blumenthal, “A Compact All-Optical 40 Gb/s Clock
      Recovery Using a Traveling-wave Electroabsorption Modulator-Based Ring Oscillator With a Chip
      Coplanar Q-Filter,” Conference on Lasers and Electro Optics (CLEO), San Francisco, CA, Paper
      CTuW, May 16-21 (2004).
C94. W. Wang, L. Rau, and D. J. Blumenthal, “160Gb/s High Extinction Ratio Raman-Enhanced FWM
      Wavelength Converter with Highly-Nonlinear-Fiber,” Conference on Lasers and Electro Optics
      (CLEO), San Francisco, CA, Paper CPDC6, May 16-21 (2004).
C95. J. M. Hutchinson, J. S. Barton, M. L. Mašanović, M. N. Sysak, J. A. Henness, L. A. Johansson, D. J.
      Blumenthal, and L. A. Coldren, “Monolithically integrated InP-based tunable wavelength
      conversion," SPIE Meeting on Physics and Simulation of Optoelectronic Devices XII, San Jose, CA,
      vol. 5349, June 18 (2004).
C96. A. Xing, M. Davanco, D. Blumenthal, E. Hu, “Transmission measurement of tapered single line
      defect photonic crystal waveguide,” Proceedings on Integrated Photonics Research (IPR), San
      Francisco, CA, Paper IWB3, June 30 (2004).
C97. L.A. Johansson, Z. Hu, D. J. Blumenthal, L. A. Coldren, Y. A. Akulova and G. A. Fish,
      “Monolithically Integrated 40 GHz Pulse Source with >40 nm Wavelength Tuning Range,”
      Proceedings on. Integrated Photonics Research (IPR), San Francisco, CA, June 30 (2004).
C98. Z. Hu, H. F. Chou, L. Rau, M. Usami, J. E. Bowers and D. J. Blumenthal, “40-Gb/s Optical Packet
      Clock Recovery Using a Traveling-Wave Electroabsorption Modulator-Based Ring Oscillator,”
      European Conference on Optical Communications (ECOC), Stockholm, Sweden, pp. 436-7,
      November 6-8 (2004).
C99. M. Davanço and D. J. Blumenthal, “Design of an InP-based deeply-etched waveguide grating for
      the implementation of entire C- Or L- band rejection filters,” IEEE LEOS Annual Meeting
      Conference Proceedings, Rio Grande, Puerto Rico, vol. 1: 300-1, November 7-11 (2004).
2005
C100. H. N. Poulsen, S. Rangarajan, H. N. Poulsen, M. L. Masanovic, V. Lal, and D. J. Blumenthal,
      “Performance of a Label Erase and Wave-Length Switching Sub-System for Layer-3 All-Optical
      Label Switching Using a Two Stage InP Wavelength Converter,” Optical Fiber Communications
      Conference, (OFC), Anaheim, CA, Paper OTuC2, March 6-11 (2005).
C101. M. N. Sysak, J. S. Barton, J. W. Raring, M. Dummer, A. T. Pedretti, D. J. Blumenthal, L. A.
      Coldren, “10 Gb/s Photocurrent Driven, Widely Tunable Electroaborption Modulator Based
      Wavelength Convertor,” Optical Fiber Communications Conference (OFC), Anaheim, CA, Paper
      OTuM4, March 6-11 (2005)
C102. Z. Hu, H. F. Chou, J.E. Bowers and D.J. Blumenthal, “40 Gb/s Optical 3R Regeneration Using a
      Traveling-wave Electroabsorption Modulator-Based Ring Oscillator,” Optical Fiber
      Communications Conference (OFC), Anaheim, CA, Paper OTuO5, March 6-11 (2005).




                                                                                    NOKIA EXHIBIT 1002
                                                                                                     Page 26 of 38
   Case 4:20-cv-02354-JSW Document 50-2 Filed 02/22/21 Page 28 of 39



C103. C. H. Chen, L. A. Johansson, V. Lal, M. L. Masanovic, D. J. Blumenthal, and L. A. Coldren,
      "Programmable Optical Buffering using Fiber Bragg Gratings combined with a Widely-Tunable
      Wavelength Converter," Optical Fiber Communications Conference, (OFC ‘05), Anaheim, CA,
      Paper OWK4, March 6-11 (2005).
C104. A. Xing, Davanco, M., Camatel S., Blumenthal D. J., and Hu L. E., “Pulse Compression in Line
      Defect Photonic Crystal Waveguide,” Optical Fiber Communications Conference, (OFC), Anaheim,
      CA, Paper OWD5, March 6-11 (2005).
C105. V. Lal, M. L. Mašanović, J. A. Summers, L.A. Coldren, and D.J. Blumenthal, “40Gbps Operation of
      an Offset Quantum Well Active Region Based Widely-Tunable All-Optical Wavelength Converter,”
      Optical Fiber Communication Conference (OFC), Anaheim, CA, Paper OThE3, March 6-11 (2005).
C106. M. L. Mašanović, V. Lal, E. J. Skogen, J. S. Barton, J. A. Summers, L. A. Coldren, and D. J.
      Blumenthal, “Detailed Comparison of Cross-phase Modulation Efficiency in Offset Quantum Well
      and Centered Quantum Well Intermixed Monolithically Integrated Widely-Tunable MZI-SOA
      Wavelength Converters,” Optical Fiber Communications Conference, (OFC ‘05), Anaheim, CA,
      Paper OThE5, March 6-11 (2005).
C107. S. Rangarajan, H. N. Poulsen, P. G. Donner, R. Gyurek, V. Lal, M. L. Masanovic and D. J.
      Blumenthal, “End-to-End Layer-3 (IP) Packet Throughput and Latency Performance Measurements
      in an All-Optical Label Switched Network with Dynamic Forwarding,” Optical Fiber
      Communications Conference (OFC ‘05), Anaheim, CA, Paper OWC5, March 6-11 (2005).
C108. V. Lal, M. L. Masanovic, E. J. Skogen, J. W. Raring, J. A. Summers, L. A. Coldren, and D. J.
      Blumenthal, “10Gbps Monolithically-Integrated Widely-Tunable Wavelength Converter Using
      Quantum Well Intermixing,” Integrated Photonics Research and Applications (IPRA), San Diego,
      CA, Paper IMC3, April 11-13th (2005).
C109. J. A. Summers, V. Lal, M. L. Mašanović, L. A. Coldren, and D. J. Blumenthal, "Widely-Tunable
      All-Optical Wavelength Converter Monolithically Integrated with a Total Internal Reflection Corner
      Mirror Delay Line for 40Gbps RZ Operation," Integrated Photonics Research and Applications
      (IPRA), San Diego, California, Paper IMC5, April 11-13 (2005).
C110. V. Lal, J. A. Summers, M. L. Mašanović, L. A. Coldren, and D. J. Blumenthal, "Novel Compact InP
      Based Monolithic Widely-Tunable Differential Mach-Zehnder Interferometer Wavelength
      Converter for 40Gbps Operation," Indium Phosphide and Related Materials (IPRM), Glasgow,
      Scotland, UK, May 8-12 (2005).
C111. W. Zhao, Z. Hu, V. Lal, L. Rau, La. A. Coldren, and D. J. Blumenthal, “Optimization of ultra-long
      MQW semiconductor optical amplifiers for all-optical 40-Gb/s wavelength conversion,”
      IEEE/LEOS/OSA Conference on Lasers and Electro-Optics (CLEO), Baltimore, MD, Paper CWK5,
      Baltimore, MD, May 22-27 (2005).
C112. A. Xing, M. Davanco, D.J. Blumenthal, and E.L. Hu, ”Group Velocity Reduction through Line
      defect Photonic Crystal Waveguide,” PECS-VI, Crete, Greece, June 19-24 (2005).
C113. J. A. Summers, M. L. Mašanović, V. Lal, L. A. Coldren and D. J. Blumenthal, “Monolithic Widely-
      Tunable All-Optical Wavelength Converter with Spatial Filtering of Input and Output Signals for
      10Gbps NRZ Operation,” IEEE LEOS Annual Meeting 2005, Sydney, Australia, Paper TuT2, pp.
      351-2, October 22 (2005).
2006
C114. J. S. Barton, M. N. Sysak, A. Tauke-Pedretti, M. Dummer, J. Raring, L. A. Johansson, M. L.
      Masanovic, D. J. Blumenthal, L. A. Coldren, “Field modulated wavelength converters,” SPIE
      Photonics West 2006, San Jose, CA, Vol. 6124, January 21-26 (2006).
C115. B. R. Koch, Z. Hu, J. E. Bowers, and D. J. Blumenthal, "Integrated Optical Label Read and Payload
      Envelope Detection Circuit for Optical Label Swapping," Optical Fiber Communications
      Conference (OFC), Anaheim, CA, Paper OWL7, March 5-10 (2006).
C116. D. Wolfson, H. N. Poulsen, S. Rangarajan, Z. Hu, and D. J. Blumenthal, “Synchronizing Optical
      Data and Electrical Control Planes in Asynchronous Optical Packet Switches,” Optical Fiber
      Communications Conference (OFC), Anaheim, CA, Paper OThM3, March 5-10 (2006).
C117. H. N. Poulsen, D. Wolfson, S. Rangarajan, and D. J. Blumenthal, “Burst mode 10 Gbps optical
      header recovery and lookup processing for asynchronous variable-length 40 Gbps optical packet
      switching,” Optical Fiber Communications Conference (OFC), Anaheim, CA, Paper OFJ2, March
      5-10 (2006).




                                                                                    NOKIA EXHIBIT 1002
                                                                                                    Page 27 of 38
   Case 4:20-cv-02354-JSW Document 50-2 Filed 02/22/21 Page 29 of 39



C118. J. A. Summers, M. L. Mašanović, V. Lal, D. J. Blumenthal, “Monolithic Spatially-Filtered 10Gbps
      All-Optical Wavelength Converter with Enhanced Push-Pull Operation using Dual Inverted and
      Non-Inverted Inputs,” Optical Fiber Communications Conference (OFC), Anaheim, CA, Paper
      OWS4, March 5-10 (2006).
C119. M. Davanço, A. Xing, E. L. Hu, D. J. Blumenthal, and J. Raring, “Broadband Photonic Crystal
      Passive Filters for Monolithically Integrated InP Photonic Integrated Circuits,” Optical Fiber
      Communications Conference (OFC), Anaheim, CA, Paper OThO1, March 5-10 (2006).
C120. N. Behesti, Y, Ganjali, R. Rajaduray, D. Blumenthal, and N. McKeown, “Buffer sizing in all-optical
      packet switches,” Optical Fiber Communications Conference (OFC), Anaheim, CA, Paper OThF8,
      March 5-10 (2006).
C121. S. Rangarajan, H. N. Poulsen, and D. J. Blumenthal, “Scalable All-Optical
      Compression/Decompression of Variable Length (40 to 1500 byte) Packets,” Optical Fiber
      Communications Conference (OFC), Anaheim, CA, Paper OWP2, March 5-10 (2006).
C122. Z. Hu, B. Koch, J. E. Bowers, and D. J. Blumenthal, “Integrated Photonic/RF 40-Gb/s Burst-Mode
      Optical Clock Recovery for Asynchronous Optical Packet Switching,” Optical Fiber
      Communications Conference (OFC), Anaheim, CA, Paper OThS7, March 5-10 (2006).
C123. W. Zhao, M. L. Masanovic, V. Lal, D. Wolfson, G. Fish and D. J. Blumenthal, "Monolithically
      Integrated Widely Tunable Delayed Interference Based 40Gbps Wavelength Converter," Optical
      Fiber Communications Conference (OFC ‘06), Anaheim, CA, Paper OWS3, March 5-10 (2006).
C124. M. N. Sysak, J. W. Raring, J. S. Barton, M. M. Dummer, A. Tauke-Pedretti, H. N. Poulsen, D. J.
      Blumenthal, and L. A. Coldren, “10 Gb/s Monolithically Integrated, Photocurrent Driven
      Wavelength Converter with Widely Tunable SGDBR Laser and Optical Receiver,” Proceedings on
      Integrated Photonics Research and Applications, Uncasville, CT, Paper ITuC5, April 24-28 (2006).
C125. M. N. Sysak, J. W. Raring, D. J Blumenthal, and L. A Coldren, “A Quantum Well EAM-SGDBR
      Widely Tunable Transmitter Fabricated on a Novel Dual-Quantum-Well Integration Platform,”
      Device Research Conference (DRC), University Park, PA, pp. 15-6 June 26-28 (2006).
C126. V. Lal, M. L. Masanovic, D. Wolfson, G. Fish, and D. J. Blumenthal, “Monolithic Widely Tunable
      Packet Forwarding Chip in InP for All-Optical Label Switching,” International Peace Research
      Association, Calgary, Canada, June 29- July 3 (2006).
C127. B. K. Whitlock, H. N. Poulsen, D. H. Richards and D. J. Blumenthal, “Physical-layer Modeling and
      Simulation of WDM Fiber Optic Network Architectures for Aerospace Platforms,” IEEE
      Conference Avionics Fiber-Optics and Photonics, Annapolis, MD, Paper TuC5, pp. 26 – 27,
      September. 12-14 (2006).
C128. M. N. Sysak, J. W. Raring, G. P. Morrison, D. J. Blumenthal, and L. A Coldren, “Monolithically
      Integrated, Sampled Grating DBR Laser Transmitter with Asymmetric Quantum Well
      Electroabsorption Modulator,” Proceedings of International Semiconductor Laser Conference,
      Kohala Coast, HI, Paper TuB6, pp. 29-30, September 17-21 (2006).
C129. B. R. Koch, Z. Hu, J. E. Bowers, and D. J. Blumenthal, “All-Optical Payload Envelope Detection
      for Packets with 40 Gbps Payloads and 10 Gbps Labels,” European Conference on Optical
      Communications (ECOC), Cannes, France, pp. 1-2, September 24-28 (2006).
C130. M. N. Sysak, J. W. Raring, L. Johansson, H. N. Poulsen, J. S. Barton, D. J. Blumenthal, and L. A.
      Coldren, “Optical 2R and 3R Signal Regeneration in Combination with Dynamic Wavelength
      Switching Using a Monolithically Integrated, Widely Tunable Photocurrent Driven Wavelength
      Converter,” European Conference on Optical Communications (ECOC), Cannes, France, September
      24-28 (2006).
C131. H. N. Poulsen, W. Donat, V. Lal, M. L. Masanovic, D. J. Blumenthal, G. Epps, D. Civello, G. Fish
      and C. Coldren, “Demonstration of Simultaneous Multiplexing/Demultiplexing Operation of an All-
      Optical 2x2 Packet Switch with Asynchronous Variable-length Optically Labeled 40Gbps Packets,”
      European Conference on Optical Communications (ECOC),Cannes, France, September 24-28
      (2006).
2007
C132. Z. Hu, and D. J. Blumenthal, “SPM-Based 2R Regenerative 10Gbps Optically Linearly Controlled
      Delay Line with 0ps to 170ps Tuning Range,” Optical Fiber Communication and the National Fiber
      Optic Engineers Conference OFC/NFOEC , Anaheim, CA, Paper OME4, March 25-29 (2007).
C133. Z. Hu, and D. J. Blumenthal, “Simultaneous Slow-Light Delay and Pulse Reshaping of 10 Gbps RZ
      Data in Highly Nonlinear Fiber-based Optical Parametric Amplifier with Clock-Modulated Pump,”



                                                                                    NOKIA EXHIBIT 1002
                                                                                                    Page 28 of 38
   Case 4:20-cv-02354-JSW Document 50-2 Filed 02/22/21 Page 30 of 39



        Optical Fiber Communication and the National Fiber Optic Engineers Conference OFC/NFOEC ,
        Anaheim, CA, Paper OWB4, March 25-29 (2007).
C134.   B. R. Koch, J. S. Barton, M. Masanovic, Z. Hu, J. E. Bowers, and D. J. Blumenthal, “35 Gb/s
        Monolithic All-Optical Clock Recovery Pulse Source,” Conference on Optical Fiber
        Communication and the National Fiber Optic Engineers Conference (OFC/NFOEC), Anaheim,
        California, Paper OWP2, March 25-29 (2007).
C135.   J. P. Mack, H. N. Poulsen, E. F. Burmeister, J. E. Bowers, and D. J. Blumenthal, “A 40 Gb/s
        Asynchronous Optical Packet Buffer Based on an SOA Gate Matrix for Contention Resolution,”
        Conference on Optical Fiber Communication and the National Fiber Optic Engineers Conference
        (OFC/NFOEC), Anaheim, CA, Paper OTuB7, March 25-29 (2007).
C136.   M. P. Fok, C. Shu, and D. J. Blumenthal, “Dual-Pump Four-Wave Mixing in Bismuth-Oxide Highly
        Nonlinear Fiber for Wide-Band DPSK Wavelength Conversion,” 2007 Optical Fiber
        Communication Conference and Exposition and the National Fiber Optic Engineers Conference
        (OFC/NFOEC), Anaheim, CA, Paper JThA52, March 25-29 (2007).
C137.   J. A. Summers, M. L. Mašanović, V. Lal, and D. J. Blumenthal, "Monolithically Integrated Multi-
        Stage All-Optical 10Gbps Push-Pull Wavelength Converter," Conference on Optical Fiber
        Communication and the National Fiber Optic Engineers Conference (OFC/NFOEC), Anaheim, CA,
        Paper OThT2, March 25-29 (2007).
C138.   J. A. Summers, V. Lal, M. L. Mašanović, N. Dagli, and D. J. Blumenthal, "Concave Low-Loss Total
        Internal Reflection Mirrors in Indium Phosphide for High Fabrication Tolerance," Conference on
        Lasers and Electro-Optics (CLEO), Baltimore, MD, Paper CTuH4, May 6-11 (2007).
C139.   M. P. Fok, C. Shu, and D. J. Blumenthal, “All-Optical ASK-DPSK Signal Regeneration Using a
        Semiconductor Optical Amplifier,” 2007 OSA Conference on Lasers and Electro-Optics (CLEO
        2007), Baltimore, MD, Paper JTuA126, May 6-11 (2007).
C140.   M. P. Fok, C. Shu, and D. J. Blumenthal, “40-Gb/s Polarization Multiplexed RZ-ASK-DPSK Signal
        Wavelength Conversion using a 32-cm Bismuth-Oxide Highly Nonlinear Fiber,” 2007 European
        Conference on Lasers and Electro-Optics and the International Quantum Electronics Conference
        (CLEO/Europe-IQEC), Munich, Germany, CI4-2-THU, June 17-22 (2007).
C141.   M. P. Fok, J. A. Summers, M. L. Mašanović, C. Shu, and D. J. Blumenthal, “Tunable DPSK
        Wavelength Converter Using an SOA-MZI Monolithically Integrated with a Sampled-Grating
        Distributed Bragg Reflector,” 2007 European Conference on Lasers and Electro-Optics and the
        International Quantum Electronics Conference (CLEO/Europe-IQEC), Munich, Germany Paper
        CI1-5-TUE, June 17-22 (2007).
C142.   J. A. Summers, M. L. Maćanović, V. Lal, and D. J. Blumenthal, “Experimental Study of the Impact
        of Input Signal Suppression on the Performance of a Cascaded SOA-MZI Wavelength Converter,”
        Topical Meeting on Photonics in Switching, San Francisco, CA, Paper WB4.3, pp. 161–2, August
        19-22 (2007).
C143.   B. R. Koch, J. S. Barton, M. Masanovic, Z. Hu, H. N. Poulsen, J. E. Bowers, and D. J. Blumenthal,
        “Fast Optical Clock Recovery and Signal Regeneration Applications of a Monolithic Mode Locked
        Laser with DBR Mirrors and an Optical Amplifier,” 33rd European Conference and Exhibition on
        Optical Communication, Berlin, Germany, Paper 7.3.2, September 16 - 20 (2007).
C144.   M. L. Mašanović, J. A. Summers, A. Tauke-Pedretti, V. Lal, J. S. Barton, T. Gibbons, L. Elgin, M.
        Zhang, L. A. Coldren, and D. J. Blumenthal, "Integrated High-Performance Tunable Wavelength
        Converter Technologies For Future Terrestrial And Avionic Optical Networks," IEEE Avionics,
        Fiber Optics and Photonics, Victoria, BC, Canada, Paper ThC1, pp. 70-1 October 2-5 (2007).
2008
C145. J. P. Mack, H. N. Poulsen, and D. J. Blumenthal, “40 Gb/s Autonomous Optical Packet
      Synchronizer,” Proceedings of Optical Fiber Communication Conference (OFC ’08), San Diego,
      CA, Paper OTuD3, February 24-28 (2008).
C146. E. F. Burmeister, J. P. Mack, H. N. Poulsen, J. Klamkin, L. A. Coldren, D. J. Blumenthal, and J. E.
      Bowers, “SOA gate array recirculating buffer for optical packet switching,” Conference on Optical
      Fiber Communication and the National Fiber Optic Engineers Conference (OFC/NFOEC), San
      Diego, CA, Paper OWE4, February 24-28 (2008).
C147. E. F. Burmeister, J. P. Mack, H. N. Poulsen, M. L. Masanović, B. Stamenić, D. J. Blumenthal, and
      J. E. Bowers, “Photonic Chip Recirculating Buffer for Optical Packet Switching,” Integrated




                                                                                      NOKIA EXHIBIT 1002
                                                                                                       Page 29 of 38
   Case 4:20-cv-02354-JSW Document 50-2 Filed 02/22/21 Page 31 of 39



        Photonics and Nanophotonics Research and Applications (IPNRA) Topical Meeting, Boston, MA,
        Paper IWC4, July 13-16 (2008).
C148.   E. D. Lively and D. J. Blumenthal, “Simulation of Sub-Wavelength Metal Gratings for On-Chip
        Applications in Optical Communications,” OSA Slow and Fast Light (SL) Topical Meeting, Boston,
        MA, Paper SMC6, July 13-16 (2008).
C149.   E. F. Burmeister, H. W. Chen, J. P. Mack, Y. H. Kuo, B. Stamenić, D. J. Blumenthal and J. E.
        Bowers, “Hybrid silicon photonic integrated circuits for optical networking,” International Topical
        Meeting on Photonics in Switching, Hokkaido University, Sapporo, Japan, August 4-7 (2008).
C150.   B. R. Koch, A. W. Fang, O. Cohen, M. Paniccia, D. J. Blumenthal and J. E. Bowers, “Multiple
        Wavelength Generation from a Mode Locked Silicon Evanescent Laser,” International
        Semiconductor Laser Conference (ISLC), Sorrento, Italy, Paper ThB3, pp. 175 – 176, September 14-
        18 (2008).
C151.   B. R. Koch, A. W. Fang, R. Jones, O. Cohen, M. J. Paniccia, D. J. Blumenthal, J. E. Bowers,
        “Silicon evanescent optical frequency comb generator,” 5th Annual IEEE International Conference
        on Group IV Photonics, Cardiff, Wales, UK, Paper WD4, pp. 64 – 66, September 17-19 (2008).
C152.   J. P. Mack, E .F. Burmeister, H. N. Poulsen, B. Stamenic, J. E. Bowers, and D. J. Blumenthal,
        “Photonic integrated circuit switch matrix and waveguide delay lines for optical packet
        synchronization," 34th European Conference on Optical Communications (ECOC), Brussels,
        Belgium, Paper Th2C5, September 21-25 (2008).
C153.   E. F. Burmeister, J. P. Mack, H. N. Poulsen, B. Stamenic, M. Mašanovic, D. J. Blumenthal and J. E.
        Bowers, “Demonstration of contention resolution between two 40 Gb/s packet streams using
        multiple photonic chip optical buffers,” European Conference on Optical Communications (ECOC),
        Brussels, Belgium, Paper We.2.D.3, September 21-25 (2008).
C154.   B. R. Koch, A. W. Fang, R. Jones, O. Cohen, M. J. Paniccia, D. J. Blumenthal, and J. E. Bowers,
        “Silicon Evanescent Optical Frequency Comb Generator,” Extended Abstracts of the 2008
        International Conference on Solid State Devices and Materials, Tsukuba, Ibaraki, Japan, Paper
        WD4, pp. 974-975, September 23-26 (2008).
C155.   H. N. Poulsen, D. H. Richards, P. Mena, A. Ramapanicker, D. J. Blumenthal, “Reference physical
        layer analysis of WDM fiber optic network for aerospace platforms,” IEEE Avionics, Fiber-Optics
        and Photonics Technology Conference, San Diego, CA, pp.75 – 76, September 30-October 2
        (2008).
2009
C156. J. P. Mack, H. N. Poulsen, E. F. Burmeister, B. Stamenic, G. Kurczveil, J. E. Bowers, and D. J.
      Blumenthal, “Demonstration of Contention Resolution for Labeled Packets at 40 Gb/s Using
      Autonomous Optical Buffers,” OSA/OFC/NFOEC, San Diego, CA, Paper OMU2, March 22 – 26
      (2009).
C157. J. P. Mack, J. M. Garcia, H. N. Poulsen, E. F. Burmeister, B. Stamenic, G. Kurczveil, J. E. Bowers,
      and D. J. Blumenthal, “End-to-end asynchronous optical packet transmission, scheduling, and
      buffering,” OSA/OFC/NFOEC, San Diego, CA, Paper OWA2, March 22 – 26 (2009).
C158. S. C. Nicholes, M. L. Masanovic, J. Barton, E. J. Norberg, E. Lively, B. Jevremovic, L. A. Coldren
      and D. J. Blumenthal, “Novel application of quantum well intermixing implant buffer layer to
      enable high-density photonic integrated circuits in InP,” IEEE International Conference on Indium
      Phosphide & Related Materials, IPRM '09, Newport Beach, CA, Paper WB1.2, pp. 215 – 218, May
      10-14 (2009).
C159. J. P. Mack, K. N. Nguyen, M. Dummer, E. F. Burmeister, H. N. Poulsen, B. Stamenic, G. Kurczveil,
      J. E. Bowers, L. A. Coldren, and D. J. Blumenthal, “40 Gb/s buffered 2×2 optical packet switching
      using photonic integrated circuits,” Conference on Lasers and Electro-Optics and Conference on
      Quantum electronics and Laser Science Conference (CLEO/QELS 2009) ,Baltimore, MD, Paper
      CMJJ6, May 31-June 5 (2009).
C160. E. Lively, J. S. Barton and D. J. Blumenthal, “Novel Fabrication of Sub-Wavelength High Aspect
      Ratio Metal/Dielectric Gratings on InP Semiconductor Platforms,” OSA Topical Meeting on
      Integrated Photonics and Nanophotonics Research and Applications (IPNRA), Honolulu, HI, Paper
      IBW2, July 12 – 17 (2009).
C161. S. C. Nicholes, M. L. Mašanović, E. Lively, L. A. Coldren and D. J. Blumenthal, “An 8x8
      Monolithic Tunable Optical Router (MOTOR) Chip in InP,” OSA Topical Meeting on Integrated




                                                                                      NOKIA EXHIBIT 1002
                                                                                                       Page 30 of 38
   Case 4:20-cv-02354-JSW Document 50-2 Filed 02/22/21 Page 32 of 39



       Photonics and Nanophotonics Research and Applications (IPNRA), Honolulu, HI, Paper IMB1, July
       12 – 17 (2009).
2010
C162. “Ultra-Long Cavity Hybrid Silicon Mode-Locked Laser Diode Operating at 930 MHz,” M. J. R.
      Heck, M. L. Davenport, H. Park, D. J. Blumenthal and J. E. Bowers, Optical Fiber and
      Communication Conference and the National Fiber Optic Engineers Conference (OFC/NFOEC)
      2010, San Diego, CA, Paper OMI5, March 21-25 (2010)
C163. “Asynchronous 2x2 Optical Packet Synchronization, Buffering and Forwarding,” J. P. Mack, J. M.
      Garcia, E. F. Burmeister, M. M. Dummer, H. N. Poulsen, B. Stamenic, G. Kurczveil, K. Hollar, L.
      A. Coldren, J. E. Bowers and D. J. Blumenthal, Optical Fiber and Communication Conference and
      the National Fiber Optic Engineers Conference (OFC/NFOEC) 2010, San Diego, CA, Paper
      OThN1, March 21-25 (2010)
C164. “A Real-Time Asynchronous Dynamically Re-Sizable Optical Buffer for Variable Length 40Gbps
      Optical Packets,” J. M. Garcia, J. P. Mack, K. N. Nguyen, K. Hollar, E. F. Burmeister, B. Stamenic,
      G. Kurczveil, H. N. Poulsen, J. E. Bowers and D. J. Blumenthal, Optical Fiber and Communication
      Conference and the National Fiber Optic Engineers Conference (OFC/NFOEC) 2010, San Diego,
      CA, Paper OThN4, March 21-25 (2010)
C165. Large-Scale Photonic Integration for Advanced All-Optical Routing Functions.” S. C. Nicholes, M.
      L. Mašanović, B. Jevremović, E. Lively, L. A. Coldren and D. J. Blumenthal, Integrated Photonics
      Research, Monterey, CA, July 25-28 (2010)
2011
C166. “Hybrid silicon DQPSK receiver,” Nguyen, K.N.; Faralli, S.; Hui-Wen Chen; Peters, J.D.; Garcia,
      J.M.; Bowers, J.E.; Blumenthal, D.J., Photonics Society Summer Topical Meeting Series, 2011
      IEEE, 30 Aug 2011
C167. “Demonstration of cascadability and phase regeneration of SOA-based all-optical DPSK
      wavelength converters,” Kise, T.; Nguyen, K.N.; Garcia, J.M.; Poulsen, H.N.; Blumenthal, D.J.,
      Optical Fiber Communication Conference and Exposition (OFC/NFOEC), 2011 and the National
      Fiber Optic Engineers Conference
C168. “25 Gbaud DQPSK receiver integrated on the hybrid silicon platform,” Faralli, S.; Nguyen, K.N.;
      Hui-Wen Chen; Peters, J.D.; Garcia, J.M.; Blumenthal, D.J.; Bowers, J.E., Group IV Photonics
      (GFP), 2011 8th IEEE International Conference on
C169. “All-optical regeneration of 25-Gb/s BPSK/DPSK signals with integrated MZI-SOA wavelength
      converter,” Kise, T.; Nguyen, K.N.; Garcia, J.M.; Poulsen, H.N.; Blumenthal, D.J.; Photonics
      Society Summer Topical Meeting Series, 2011 IEEE
C170. “ Monolithically integrated dual-quadrature coherent receiver on InP with 30 nm tunable SG-DBR
      local oscillator,” Nguyen, K.N.; Garcia, J.M.; Lively, E.; Poulsen, H.N.; Baney, D.M.; Blumenthal,
      D.J., 37th European Conference and Exhibition on Optical Communication (ECOC), 2011
C171. “Fabrication and demonstration of a pure silica-core waveguide utilizing a density-based index
      contrast, “John, D.D.; Bauters, J.F.; Nedy, J.; Wenzao Li; Moreira, R.; Barton, J.S.; Bowers, J.E.;
      Blumenthal, D.J., Conference Optical Fiber Communication Conference and Exposition
      (OFC/NFOEC)and the National Fiber Optic Engineers, 2011
C172. “All-optical 2R regeneration of BPSK and QPSK data using a 90° optical hybrid and integrated
      SOA-MZI wavelength converter pairs,” Nguyen, K.N.; Kise, T.; Garcia, J.M.; Poulsen, H.N.;
      Blumenthal, D.J., Conference Optical Fiber Communication Conference and Exposition
      (OFC/NFOEC)and the National Fiber Optic Engineers, 2011
C173. “Demonstration of end-to-end interoperability between legacy 100MbE and a 40Gb/s optical label
      switched network layer,” Garcia, J.M.; Poulsen, H.N.; Blumenthal, D.J., 37th European Conference
      and Exhibition on Optical Communication (ECOC), 2011
C174. “An adaptation layer for real-time interoperability between legacy 100MbE and 40Gb/s (and
      beyond) optical label switched networks,” Garcia, J.M.; Poulsen, H.N.; Blumenthal, D.J. , IEEE
      Photonics Society Summer Topical Meeting Series, 2011
C175. “ Ultra-low-loss single-mode Si3N4 waveguides with 0.7 dB/m propagation loss,” Bauters, J.F.;
      Heck, M.J.R.; John, D.D.; Ming-Chun Tien; Wenzao Li; Barton, J.S.; Blumenthal, D.J.; Bowers,
      J.E.; Leinse, A.; Heideman, R.G., 37th European Conference and Exhibition on Optical
      Communication (ECOC), 2011




                                                                                     NOKIA EXHIBIT 1002
                                                                                                      Page 31 of 38
   Case 4:20-cv-02354-JSW Document 50-2 Filed 02/22/21 Page 33 of 39



C176. “Ultra-low-loss (<0.1 dB/m) Planar Silica Waveguide Technology,” Bauters, J.F.; Heck, M.J.R.;
      John, D.D.; Barton, J.S.; Blumenthal, D.J.; Bowers, J.E.; Bruinink, C.M.; Leinse, A.; Heideman,
      R.G., IEEE Photonics Conference (PHO), 2011
C177. “Hybrid Silicon DQPSK Receiver,” Nguyen, J. N, Faralli, S., H-W Chen, J. D. Peters, J. M Garcia,
      J. E. Bowers, D. J. Blumenthal, IEEE Photonics Society Summer Topical Meeting on Terabit
      Optical Ethernet, Paper MC3.2, Montreal, Canada
C178. “25 Gbaud DQPSK receiver integrated on the hybrid silicon platform,” Faralli, S.; Nguyen, K.N.;
      Hui-Wen Chen; Peters, J.D.; Garcia, J.M.; Blumenthal, D.J.; Bowers, J.E., 2011 8th IEEE
      International Conference on Group IV Photonics (GFP), Paper FA4
2012
C179. “Homodyne Dual-Quadrature Coherent Receiver with Injection-Locked Monolithically Integrated
      Local Oscillator,” Kimchau N. Nguyen, John M. Garcia, Erica Lively, Henrik N. Poulsen, Douglas
      M. Baney, Daniel J. Blumenthal, Conference on Optical Fiber and Communications (OFC/NFOEC),
      Paper OW3G.2, Los Angeles, CA
C180. “A Comparison of Approaches for Ultra-Low-Loss Waveguides.” J. Bauters, M. R. Heck, D. D.
      John, J. S. Barton, C. M. Bruinink, A. Leinse, R. Heideman, D. J. Blumenthal, and J. E. Bowers,
      Optical Fiber Communication Conference (OFC), Los Angeles California, Paper OTu1l
C181. Demonstration of Etch-less Core Definition Process for Low-Loss Glass Waveguide Fabrication, D.
      D. John, R. Moreira, J. S. Barton, J. F. Bauters, M. J. R. Heck, J. E. Bowers, and D. J. Blumenthal,
      Presented at the 16th European Conference on Integrated Optics (ECIO), Sitges, Barcelona, Spain,
      2012, paper 129.
C182. “High Extinction, Broadband, and Low Loss Planar Waveguide Polarizers,” J. F. Bauters, M. Heck,
      D. Dai, D. D. John, J. Barton, D. J. Blumenthal, and J. E. Bowers, Integrated Photonics Research,
      Silicon and Nanophotonics (IPRSN), Colorado Springs, CO, Paper ITu2B
2013
C183. “Demonstration of Edge Interoperability, Re-Shaping and Re-Timing using Hybrid Mode-Locking
      within a 40Gb/s Optical Packet Router,” J. Garcia, K. Nguyen, M. Belt, H. Poulsen, and D.
      Blumenthal, in Optical Fiber Communication Conference/National Fiber Optic Engineers
      Conference 2013, OSA Technical Digest (online) (Optical Society of America, 2013), paper
      OTh4D.7
C184. “Analysis of WDM and OTDM 256-QAM for 1 Tb/s Transmission Link,” W. Li and D.
      Blumenthal, in Advanced Photonics 2013, S. Chandrasekhar, M. Jinno, and G. Raybon, eds., OSA
      Technical Digest (online) (Optical Society of America, 2013), paper NT4C.3.
C185. “Optical Interconnect for 3D Integration of Ultra-Low Loss Planar Lightwave Circuits,” R. Moreira,
      J. Barton, M. Belt, T. Huffman, and D. Blumenthal, in Advanced Photonics 2013, H. Chang, V.
      Tolstikhin, T. Krauss, and M. Watts, eds., OSA Technical Digest (online) (Optical Society of
      America, 2013), paper IT2A.4.
C186. M. Belt, M. Heck, J. Barton, J. Bauters, J. Bowers, and D. Blumenthal, “Apodized and Un-
      Apodized Sidewall Grating Filters with Low Coupling Constants in Ultra-Low-Loss Si3N4 Planar
      Waveguides,” in Optical Fiber Communication Conference/National Fiber Optic Engineers
      Conference 2013, OSA Technical Digest (online) (Optical Society of America, 2013), paper
      OTu3C.3.
C187. “Apodized and Un-Apodized Sidewall Grating Filters with Low Coupling Constants in Ultra-Low-
      Loss Si3N4 Planar Waveguides,” M. Belt, M. Heck, J. Barton, J. Bauters, J. Bowers, and D.
      Blumenthal, in Optical Fiber Communication Conference/National Fiber Optic Engineers
      Conference 2013, OSA Technical Digest (online) (Optical Society of America, 2013), paper
      OTu3C.3.
2015
C188. “Compact Programmable Monolithically Integrated 10-Stage Multi-Channel WDM Dispersion
      Equalizer on Low-Loss Silicon Nitride Planar Waveguide Platform,” Renan Moreira, Sarat
      Gundavarapu and Daniel Blumenthal, Optical Fiber Communication Conference/National Fiber
      Optic Engineers Conference 2015, OSA Technical Digest (online) (Optical Society of America,
      2015), Paper Th1F.4
C189. “High Temperature Operation of an Integrated Erbium-Doped DBR Laser on an Ultra-Low-Loss
      Si3N4 Platform,” M. Belt and D. J. Blumenthal, Optical Fiber Communication Conference/National




                                                                                     NOKIA EXHIBIT 1002
                                                                                                      Page 32 of 38
   Case 4:20-cv-02354-JSW Document 50-2 Filed 02/22/21 Page 34 of 39



      Fiber Optic Engineers Conference 2015, OSA Technical Digest (online) (Optical Society of
      America, 2015), Paper Tu2C.7
C190. “Frequency modulated laser optical gyroscope,” Shen, Y.; Tran, M.; Srinivasan, S.; Hulme, J.;
      Peters, J.; Belt, M.; Gundavarapu, S.; Li, Y.; Blumenthal, D.; Bowers, J. E., Photonics Conference
      (IPC), Pages: 431 - 432, DOI: 10.1109/IPCon.2015.7323615 (2015)
C191. "Integrated Ultra-Low-Loss Silicon Nitride Waveguide Coil for Optical Gyroscopes," Sarat
      Gundavarapu, Taran Huffman, Renan Moreira, Michael Belt, John E. Bowers and Daniel J.
      Blumenthal, Optical Fiber Communication Conference (OFC/NFOEC), OSA Technical Digest,
      Anaheim, California United States, 20–22 March 2016, paper W4E.5 (2015)

2016
C192. "Frequency Modulated Laser Based Interferometric Optical Gyroscrope,” Minh A. Tran, Sarat
      Gundavarapu, Michael Belt, Tin Komljenovic, Daniel J. Blumenthal, and John E. Bowers, CLEO:
      2016, OSA Technical Digest (online) (Optical Society of America, 2016), poster JTu5A.140.
C193. "Chip-scale optical resonator enabled synthesizer (CORES) miniature systems for optical frequency
      synthesis," J. E. Bowers1, A. Beling, D. Blumenthal, A. Bluestone, S. M. Bowers, T. C. Briles, L.
      Chang, S. A. Diddams, G. Fish, H. Guo, T. J. Kippenberg, T. Komljenovic, E. Norberg, S. Papp, M.
      H. P. Pfeiffer, K. Srinivasan, L. Theogarajan, K. J. Vahala, N. Volet, 12016 IEEE International
      Frequency Control Symposium (IFCS), New Orleans, LA, USA, 2016, pp. 1-5. doi:
      10.1109/FCS.2016.7546782
C194. “Ultra-low Loss Stitching for Large-Area Waveguide Based Delay-Line Gyroscopes,” T. Huffman,
      M. Davenport, M. Belt, J. E. Bowers and D. J. Blumenthal, 2016 IEEE Photonics Conference, 29th
      Annual Conference of The IEEE Photonics Society, 2 - 6 October (2016)

2017
C195. “Ultra-low Loss Stitching for Large-Area Waveguide Based Delay-Line Gyroscopes,” T. Huffman,
      M. Davenport, M. Belt, J. E. Bowers and D. J. Blumenthal, 2016 IEEE Photonics Conference, 29th
      Annual Conference of The IEEE Photonics Society, 2 - 6 October (2016)
C196. “Integrated Sagnac Optical Gyroscope Sensor Using Ultra-Low-Loss High Aspect Ratio Silicon
      Nitride Waveguide Coil,” Sarat Gundavarapu; Michael Belt; Taran Huffman; Minh A. Tran; Tin
      Komljenovic; John E. Bowers; Daniel J. Blumenthal; Proceedings Volume 10323, 25th
      International Conference on Optical Fiber Sensors; Jeju, Republic of Korea, doi:
      10.1117/12.2263411 (2017)
C197. "Effect of direct PRBS modulation on laser driven fiber optic gyroscope," S. Gundavarapu, T.
      Komljenovic, M. A. Tran, M. Belt, J. E. Bowers and D. J. Blumenthal, 2017 IEEE International
      Symposium on Inertial Sensors and Systems (INERTIAL), Kauai, HI, 2017, pp. 1-3. doi:
      10.1109/ISISS.2017.7935669
C198. "The first integrated optical driver chip for fiber optic gyroscopes,” M. A. Tran, J. C. Hulme, T.
      Komljenovic, M. Kennedy, D. J. Blumenthal and J. E. Bowers, 2017 IEEE International Symposium
      on Inertial Sensors and Systems (INERTIAL), Kauai, HI, 2017, pp. 47-49. doi:
      10.1109/ISISS.2017.7935659



SEMINARS, WORKSHOPS, AND INVITED EXTERNAL PRESENTATIONS
SWEP1. D. J. Blumenthal, “Photonic Switching Networks and Optical Control Systems,” GTE Seminars,
                Waltham, MA, March (1989).
SWEP2. D. J. Blumenthal, “Network Requirements for Distributed Computing (MIMD),” AFOSR Digital
                Optical Computing Workshop, Vail, CO, January (1991).
SWEP3. D. J. Blumenthal, “National Science Foundation Site Review Visit,” Boulder, CO, April (1991).
SWEP4. D. J. Blumenthal, “National Science Foundation Site Review Visit,” Boulder, CO, January (1992).
SWEP5. D. J. Blumenthal and J. R. Sauer, “Multiwavelength Fast Photonic Packet Switches,” Atlanta, GA,
                September (1993).
SWEP6. D. J. Blumenthal, “Multiwavelength Photonic Packet Switch Architectures,” SPIE International
                Symposium on Aerospace/Defense Sensing and Dual-Use Photonics, Orlando, FL, April
                17-21 (1995).



                                                                                      NOKIA EXHIBIT 1002
                                                                                                       Page 33 of 38
   Case 4:20-cv-02354-JSW Document 50-2 Filed 02/22/21 Page 35 of 39



SWEP7. D. J. Blumenthal, “Wavelength Division Multiplexed Optical Communications and Photonic
                Networks,” Alcatel Photonics Components Unit, Marcoussis, France, June (1995).
SWEP8. D. J. Blumenthal, “Wavelength Division Multiplexed Optical Communications and Photonic
                Networks,” Royal Institute of Technology, Department of Photonics and Microwave
                Engineering, Stockholm, Sweden, June (1995).
SWEP9. D. J. Blumenthal, “Wavelength Division Multiplexed Optical Communications and Photonic
                Networks,” Princeton University, EE Department, Princeton, NJ, December (1995).
SWEP10.         D. J. Blumenthal, “In-Line WDM Processing and Communications,” AFOSR Workshop
                on Multiple Wavelengths In Free-Space Optical Interconnects, Taos, New Mexico,
                February (1996).
SWEP11.         D. J. Blumenthal, “Optical and Optoelectronic Wavelength Conversion Techniques for
                WDM Communications and Networks,” Hewlett Packard talk, Palo Alto, CA, February
                (1997).
SWEP12.         D. J. Blumenthal, “The Limits of WDM Technology,” Semiconductor Laser Workshop,
                CLEO ‘97, Baltimore, MD, May (1997).
SWEP13.         D. J. Blumenthal, “WDM Optical Packet Switching,” MOST Review ‘97, DARPA,
                Washington, DC, June (1997) (Invited talk).
SWEP14.         D. J. Blumenthal, “Techniques For Packet Handling/Switching Using Photonics and
                Optoelectronics,” Nortel Seminar, Ottawa, Canada, September (1997).
SWEP15.         D. J. Blumenthal, “WDM Optical Networks,” Optical Networks Workshop, Lab for
                Physical Sciences, University of Maryland, College Park, MD, October 28-30 (1997).
SWEP16.         D. J. Blumenthal, “1.55µm VCSEL Array Free-Space Links for SAB/Lasercom,”
                Lasercom Workshop, DARPA/ETO, Arlington, VA, May (1998).
SWEP17.         D. J. Blumenthal, “WDM Optical Packet Switching,” MOST Review ‘98/DARPA,
                Washington, DC, June (1998).
SWEP18.         D. J. Blumenthal, “Performance and State Monitoring for Optical WDM Networks,”
                Nortel Seminar, Ottawa, Canada, June (1998).
SWEP19.         D. J. Blumenthal “Devices for Optical WDM Networks,” Nortel Seminar, Ottawa,
                Canada, June (1998).
SWEP20.         D. J. Blumenthal, “Communications and Networking Research at UCSB and Dense High
                Speed WDM Trials,” Caltech/JPL Seminar, Pasadena, CA, November (1998).
SWEP21.         D. J. Blumenthal, “Dense High-Speed WDM Trials,” NTON Kickoff Meeting, Pasadena,
                CA, November (1998).
SWEP22.         D. J. Blumenthal, “All-Optical Label Swapping for Optical Internet Protocol Routing and
                Underlying Technologies,” Lucent Technologies, Red Bank, NJ, June 15 (1999).
SWEP23.         D. J. Blumenthal, G. Rossi, T. Dimmick, R. Doshi and O. Jerphagnon, “Performance
                Monitoring in WDM Optical Networks,” Nortel Seminar, Ottawa Canada, October
                (1999).
SWEP24.         D. J. Blumenthal, “Wavelength Conversion and Optical Signal Processing for Packet
                Routing,” Optical Fiber Communication Conference (OFC ’00), workshop on Optical
                Signal Processing for Optical Networks, Baltimore, MD, March 5-10 (2000).
SWEP25.         D. J. Blumenthal, “Strategizing Network Management,” The Optical Summit, Palm
                Springs, CA, May 16-17 (2000).
SWEP26.         D. J. Blumenthal, “All-Optical Label Swapping,” Cisco University Research Program,
                Cisco Headquarters, San Jose, CA, September 18 (2000).
SWEP27.         D. J. Blumenthal, “Agile Optical Networks” Russell Award Lecture, University of
                Michigan, Ann Arbor, MI, March 2002.
SWEP28.         D. J. Blumenthal, “A Perspective on Optical Research Networks” CENIC 2002, San
                Diego, CA, May (2002).
SWEP29.         D. J. Blumenthal, “Optical Switching Technologies and Routing Architectures,” Intel
                Corp., Santa Clara, CA, January 9 (2003).
SWEP30.         D. J. Blumenthal, “Optical Packet & Burst Switching,” ON*VECTOR Photonics
                Workshop, University of California, San Diego, CA, February 2-4 (2003).
SWEP31.         D. J. Blumenthal, “All-Optical Signal Processing for All-Photonic Packet and Burst
                Networks, “ Center for Photonic Communication and Computing Seminar Series,
                Northwestern University, Evanston, IL, February 24 (2003).



                                                                                   NOKIA EXHIBIT 1002
                                                                                                    Page 34 of 38
  Case 4:20-cv-02354-JSW Document 50-2 Filed 02/22/21 Page 36 of 39



SWEP32.    D. J. Blumenthal, “Future Optical Networks,” NSF Workshop on CyberInfrastructure
           Research for Homeland Security, University of California, San Diego, CA, February 26
           (2003).
SWEP33.    D. J. Blumenthal, “Data in the Optical Domain (DoD),” DARPA/MTO Workshop,
           Arlington, VA, March 18 (2003).
SWEP34.    D. J. Blumenthal, “Optical Networks,” DOE Science Computing Conference, Sheraton
           Crystal City Arlington, VA, June 19-20 (2003).
SWEP35.    D. J. Blumenthal and M. L. Mašanović, “Tunable Wavelength Converters to Enable High
           Functionality,” IEEE LEOS Semiconductor Laser Workshop, San Francisco, CA, May 21
           (2004).
SWEP36.    D. J. Blumenthal, “Agile Photonic Switching Systems,” Intel, Corp. Santa Clara, CA,
           May (2005).
SWEP37.    D. J. Blumenthal, “Challenges for Supporting InP Photonic Development in the USA,”
           OIDA Workshop on the Challenge for InP Photonic Development and the Optical
           Foundry, Arlington, VA, November 2-3 (2005).
SWEP38.    D. J. Blumenthal, “Mapping a Future for Optical Networking and Communications,”
           Light Reading Webinar, June 27 (2006).
SWEP39.    D. J. Blumenthal, “Future Internet Architectures, Platforms, and Technologies,” Cisco
           Systems Routing Research Symposium, San Jose, CA, August 29 – 30 (2006).
SWEP40.    D. J. Blumenthal, “Optoelectronics, Photonics and Optical Networks,” Engineering
           insights Track 2: Communications and Networking, UCSB College of Engineering, Santa
           Barbara, CA, October (2006).
SWEP41.    D. J. Blumenthal, “Integrated Photonics and Paving the Way to Future Communications
           Systems and Applications,” U.S. Congressional Subcommittee Briefing - Back to Basics:
           Defense Basic Research and the Future of California, Washington, DC, December
           (2006)
SWEP42.    D. J. Blumenthal, “Optical Techniques For Circuits And Packet-Based Networking,”
           Cisco Research Center Meeting on Future Internet Architecture, Platforms and
           Technologies, Cisco Systems, San Jose, CA January (2007).
SWEP43.    D. J. Blumenthal, “Optical Techniques For Circuits And Packet-Based Networking,”
           Stanford University, Clean Slate Center Seminar Series, Stanford, CA, February (2007).
SWEP44.    D. J. Blumenthal, “Progress and Planned Future Directions in Optical Processing and
           Communications,” DARPA/MTO Microsystems Technology Symposium, San Jose, CA,
           March 5 – 7 (2007)(Invited).
SWEP45.    D. J. Blumenthal, “Optical Circuit and Packet Switching Techniques and Integration
           Technologies,” University of Washington, Seattle, WA, April (2007).
SWEP46.    D. J. Blumenthal, “Optical Circuit and Packet Switching Techniques and Integration
           Technologies,” Cisco Enterprise Business Group Technical Talk, Cisco Systems, San
           Jose, CA, April (2007).
SWEP47.    D. J. Blumenthal, “Optical Circuit and Packet Switching Techniques and Integration
           Technologies,” Google Technical Seminar, San Jose, CA, May 23 (2007).
SWEP48.    D. J. Blumenthal, J. Barton, M. L. Mashanovitch and D. John, “Ultra Low-Loss Glass
           based Waveguides Integrated into Active InP PIC platforms,” DARPA Workshop on
           Ultra Low Loss Waveguides (ULLW), Arlington, VA, June (2007).
SWEP49.    D. J. Blumenthal, “Backbone Node High Level Requirements,” GENI Optical Workshop,
           Washington, DC, September 25 (2007).
SWEP50.    D. J. Blumenthal, “Integrated Photonic Technologies for Optical Networks,“ Engineering
           Insights 2008 – Breakout Session on “Towards Terabit Access Networks, UCSB College
           of Engineering, Santa Barbara, CA, February (2008).
SWEP51.    D. J. Blumenthal, “Technologies for Building Fast Reconfigurable WDM Optical
           Networks,” Optical Fiber Communications Conference (OFC ’08) Workshop on All-
           Optical Signal Processing and Conditioning, San Diego, CA, February (2008) (Invited).
SWEP52.    D. J. Blumenthal, “Research Directions in photonic Integration,” OIDA Photonic
           Integration Forum, Santa Clara, CA, October 6 (2009).
SWEP53.    D. J. Blumenthal, “Small Buffers and the Impact on Optical Packet Router Architectures
           and Integration Technologies,” Google, San Jose, CA, October 8 (2009).



                                                                             NOKIA EXHIBIT 1002
                                                                                              Page 35 of 38
   Case 4:20-cv-02354-JSW Document 50-2 Filed 02/22/21 Page 37 of 39




SWEP54.         D. J. Blumenthal, NSF US-Japan Future Networks Collaboration Workshop, Honolulu,
                HI, December 5 (2009)
SWEP55.         D. J. Blumenthal, “Terabit Optical Ethernet (TOE) and Many Symbol Coherent Optical
                Terabit PICs (MASCOT),” Princeton University, Department of EE, March 8 (2010)
SWEP56.         D. J. Blumenthal, “Terabit Optical Ethernet (TOE) and Many Symbol Coherent Optical
                Terabit PICs (MASCOT), MIT, Department of ECE, March 11 (2010)
SWEP57.         D. J. Blumenthal, “Terabit Optical Ethernet (TOE) and Many Symbol Coherent Optical
                Terabit PICs (MASCOT), Harvard University, Department of EE and Applied Physics,
                March 12 (2010)
SWEP58.         D. J. Blumenthal, “Energy Efficient Photonics for Communication and Application to the
                Terabit Optical Ethernet Center (TOEC),” Santa Barbara Summit on Energy Efficiency,
                Institute for Energy Efficiency, Four Seasons Biltmore, May 12 (2010)
SWEP59.         D. J. Blumenthal, J. M. Garcia and H. N. Poulsen, “Optical Packet Switching
                Core router packet forwarding and edge adaptation,” Google, San Jose, CA, November
                (2010)
SWEP60.         D. J. Blumenthal, J. E. Bowers and J. S. Barton, “Terabit Optical Ethernet (TOE)
                and Underlying PIC Technologies,” International Symposium on Ultra-high Capacity
                Optical Communication and Related Optical Signal Processing and Devices, Technical
                University of Denmark, Lyngby, Sept. 16 – 17 (2010)
SWEP61.         D. J. Blumenthal, “The Road to Terabit Optical Ethernet,” Stanford Green Workshop,
                Stanford University, February (2011)
SWEP62.         D. J. Blumenthal, “Future Data Center, Warehouse and Cloud Requirements on WDM
                Communications Heading to Terabit/sec,” Infinera Corporation, San Jose, CA, November
                (2011)
SWEP63.         “PIC vs. Si Photonics: Hype or Reality?,” OFC Market Watch Panel, Los Angeles, CA
                2014
SWEP64.          “Ultra Low Loss Waveguide Technology for On-Chip Digital Optical Synthesis,”
                Exploratory DARPA/MTO workshop on Direct On-Chip Digital Optical
                Synthesis/Denver, Colorado, December (2013)
SWEP65.          “Deploying 400G In Volume,” Fifth Annual OIF Technology Summit at OFC/ Los
                Angeles, CA, March (2014)
SWEP66.          “Realization of Low SWAP+C Environmentally Robust Integrated Waveguide Optical
                Gyros and PNT Systems,” DARPA Micro-PNT Fall 2014 PI Meeting/San Antonio, TX,
                November (2014)
SWEP67.          “Technical hurdles that need addressing for next generation communications networks,”
                Sixth Annual OIF Technology Summit at OFC/ Los Angeles, CA, March (2015)
SWEP68.          “Realization of Low SWaP+C Environmentally Robust Integrated Waveguide Optical
                Gyros and PNT Systems,” DARPA Micro-PNT Spring 2015 PI Meeting/Pittsburgh, PA,
                April (2015)
SWEP69.          “Realization of Low SWAP+C Environmentally Robust Integrated Waveguide Optical
                Gyros and PNT Systems,” DARPA microPNT Fall 2015 Program Review/San Diego,
                CA, October (2015)
SWEP70.          “Ultra-Low Loss Waveguide Technology and Integration Platform: Challenges
                Overcome and New Chip-Scale Applications,” MIT Seminar/Boston, MA, (2015)

SHORT COURSES AND CONTINUING EDUCATION
SC1.  “Fast Reconfigurable WDM Optical Networks and Their Physical Limitations,” OFC ’99, Session
      SC153, San Diego, CA, February 21-26 (1999).
SC2.  “Fiber Optic Networks,” Continuing Education Institute-Europe (CEI), Davos, Switzerland,
      March 8-12 (1999).
SC3.  “Fiber Optic Networks,” UCSD Extension, San Diego, CA, March 23-26 (1999).
SC4.  “Fiber Optic Networks,” Continuing Education Institute (CEI) Europe, Barcelona, Spain, October
     25–29 (1999).
SC5.  “Fast Reconfigurable WDM Optical Networks,” OFC ’00, Baltimore, MD (2000).




                                                                                  NOKIA EXHIBIT 1002
                                                                                                  Page 36 of 38
   Case 4:20-cv-02354-JSW Document 50-2 Filed 02/22/21 Page 38 of 39



SC6.     “Fiber Optic Networks,” UCSD Extension, San Diego, CA, June 21-23 (2000).
SC7.     “Fast Reconfigurable WDM Optical Networks,” OFC ’01, Anaheim (2001).
SC8.     “Fast Reconfigurable WDM Optical Networks,” OFC ’02, Anaheim (2002).
SC9.     “Fast Reconfigurable WDM Optical Networks,” OFC ’03, Anaheim (2003).
SC10.    “Fast Reconfigurable WDM Optical Networks,” OFC ’04, Anaheim (2004).
SC11.    “Fast Reconfigurable WDM Optical Networks,” OFC ’05, Anaheim (2005).
SC12.    “Fast Reconfigurable WDM Optical Networks,” OFC ’06, Anaheim (2006).
SC13.    “Fast Reconfigurable WDM Optical Networks,” OFC ’07, Anaheim (2007).
SC14.   “Fast Reconfigurable WDM Optical Networks,” OFC ’08, San Diego (2008).
SC15.   “Dynamic ROADMs, Switches and Integrated Technologies and Techniques for Dynamically
        Reconfigurable and Packet Switched Optical Networks,” OFC ’09, San Diego (2009).
SC16.   “Dynamic ROADMs, Switches and Integrated Technologies and Techniques for Dynamically
        Reconfigurable and Packet Switched Optical Networks,” OFC ’10, San Diego (2010).


GRADUATE STUDENTS
Chair/Co-Chair - Ph.D. Advising and Graduates
Vaughn, Mark (Georgia Tech)                     Chair                     Degree Completed 1998
Scholz, Christoph (Georgia Tech)                Chair                     Degree Completed 1999
Rau, Lavanya                                    Chair                     Degree Completed 2003
Mašanović, Milan                                Chair                     Degree Completed 2004
Rajaduray, Ramesh                               Chair                     Degree Completed 2005
Wang, Wei                                       Chair                     Degree Completed 2005
Sysak, Matthew                                  Co-Chair                  Degree Completed 2005
Zhao, Wenbin                                    Chair                     Degree Completed 2006
Davanço, Marcelo                                Chair                     Degree Completed 2006
Lal, Vikrant                                    Chair                     Degree Completed 2006
Rangarajan, Suresh                              Chair                     Degree Completed 2006
Sakamoto, Steven                                Co-Chair                  Degree Completed 2006
Zhao, Wenbin                                    Chair                     Degree Completed 2006
Summers, Joseph                                 Chair                     Degree Completed 2007
Koch, Brian                                     Co-Chair                  Degree Completed 2008
Mack, John                                      Chair                     Degree Completed 2009
Nicholes, Steve                                 Co-Chair                  Degree Completed 2010
Williams, Kimani                                Chair                     Degree Completed 2012
Lively, Erica                                   Chair                     Degree Completed 2012
John, Demis                                     Chair                     Degree Completed 2012
Garcia, John                                    Chair                     Degree Completed 2014
Nguyen, Kim                                     Chair                     Degree Completed 2013
Li, Wenzao                                      Chair                     Degree Completed 2013
Skahan , Phillip                                Chair                     Degree Completed 2016
Moreira, Renan                                  Chair                     Degree Completed 2016
Belt, Michael                                   Chair                     Degree Completed 2017
Huffman, Tarran                                 Chair                               In Progress
Gundavarapu, Sarat                              Chair                               In Progress
Grant Brodnick                                  Chair                               In Progress

M.S. ADVISING AND GRADUATES
Jerphagnon, Olivier                             Chair                    Degree Completed 2004
Ng, Andree                                      Member                   Degree Completed 2006
Huang, Chi-Heng                                 Member                   Degree Completed 2006
Donat, Walt                                     Chair                    Degree Completed 2007
Chun, Mellissa                                  Chair                    Degree Completed 2008
Hollar, Curtis                                  Chair                    Degree Completed 2010




                                                                             NOKIA EXHIBIT 1002
                                                                                               Page 37 of 38
   Case 4:20-cv-02354-JSW Document 50-2 Filed 02/22/21 Page 39 of 39



Bose, Depham                          Chair                  Degree Completed 20107
Nitesh Chauhan                        Chair                  Degree Completed 20107
John Wood                             Chair                              In Progress
Jiawei Wang                           Chair                              In Progress
Mark Harrington                       Chair                              In Progress


INTERNATIONAL PH.D. ADVISING
Gaudino, Roberto           Politecnico di Torino Italy
Carena, Andrea             Politecnico di Torino Italy
Curri, Vitorio             Politecnico di Torino Italy
Bosco, Gabriella           Politecnico di Torino Italy
Nielsen, Mads              Technical University of Denmark
Berg, Tommy                Technical University of Denmark
Fok, Mable                 Chinese University of Hong Kong
Pinho, Catia

POST DOCS AND SENIOR SCIENTISTS
Jared Bauters
Mašanović, Milan
Barton, Jonathon
Poulsen, Henrik
Wolfson, David
Rossi, Giammaro
Davanço, Marcelo
Rangarajan, Suresh
Hu, Zhaoyang
Yan, Xuejin
Beck Mason
Greg Fish
Kothari, Nitin




                                                                  NOKIA EXHIBIT 1002
                                                                                  Page 38 of 38
